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                  EXHIBIT B-077
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 1                    IN THE SUPERIOR COURT OF FULTON COUNTY

 2                                    STATE OF GEORGIA
                                                                            FILED IN OFFICE
 3

 4     IN RE:

 5     SPECIAL PURPOSE GRAND JURY

 6                                                 CASE NUMBER: 2022-EX-00024

 7

 8                                        2022-EX-00024

 9

10               SPECIAL PURPOSE GRAND JURY MOTIONS TRANSCRIPT

11              Before    the    HONORABLE JUDGE ROBERT C.I                  MCBURNEY

12                       on July    25,    2022,     Atlanta,          GA 30303

13

14     APPEARANCES:

15     FOR THE STATE:ADA NATHAN WADE

16     FOR THE STATE:ADA DONALDWAKEFORD

17     FOR THE STATE: ATTORNEY ANNA GREEN-CROSS

18     FOR SENATOR JONES:        BILL DILLON & ANNA CLAPP

19     FOR THE JURORS: ATTORNEYS MS. PEARSON & MS. DEBORROUGH

20
21                              HADASSAH J.        DAVID, CVR, CCR

22                                 #4857     8554    6837       1968

23                               CERTIFIED     COURT REPORTER

24                        SUPERIOR COURT OF FULTON COUNTY

25                       hadassah.david@fultoncountyga.gov
                  HADASSAH J.       DAVID, OFFICIAL             COURT REPORTER
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 1                                                                PROCEEDINGS

 2                       THE COURT:                    Good afternoon.                          Let's         get        on the         record

 3           in     2022-Ex-000024.                           This        is      a special               purpose           Grand        Jury.

 4           It     is    about           2:00         o'clock            on the            21st        of    July,         and we are

 5          going         to work              through,                this       afternoon,                 a couple            of motions

 6           that        have        been           filed.             A motion             filed         on behalf              of Senator

 7           Jones        seeking              to      disqualify                 the       DA's        office           from     handling

 8           the      case,          the       case          that        is     Senator            Jones         and      then        a motion

 9           to     quash        and          disqualify,                 but         to    disqualify,                  I think,            is

10          merely          an adoption                      of     Senator            Jones'           motion           that     was filed

11           on behalf               of       11 of          the                for        today        we'll        call        them

12           alternate               electors.

13                       Those         are          the      two motions                   I think           we are         covering.

14          The State                has       filed,             the          District            Attorney's               Office           has

15           filed,         an opposition                         to     the     motion            to     disqualify.                   I let

16           them        know,         because               when I received                       the       motion         to    quash

17           that        they        didn't            need         to    file         a written              response            motion

18          which         is     fine,           and         hopefully                you will            be able           to    address
19           it     today.             It's          a lot          of moving               parts.
20                       We've         got       a lot            of     lawyers            here,         so I want              to     make

21           sure        we get           on the             record           who is         here         and who will                  be

22           speaking            for          the      different                parties.                Before           we go any

23           further,            though,               Rule         22 wise.                There         were       some media

24          outlets             that          only        reached             out      today         to      get     the        green

25           light.             If     you were               able        to      get       equipment               in    here        you are
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 1           free     to use it,              but       I did not            sign       your Rule 22 today,
 2           because        the       general          Rule 22 is to be signed                           24 hours            in
 3           advance,           but you really                   only       need the         Rule 22 for               purposes
 4           of getting              in the building                   with       the     big    cameras,             so if       you
 5           sought        Rule 22 approval                      to record           things       while         you're        in
 6           here     and you've              got a handheld                   device,          you are welcome to
 7           do that.
 8                    Going forward                   it's       24 hours           in advance,           and it         would
 9           really        help       if     you could            report          back     to your Rule 22
10           people,        if       you would designate                      more clearly               on the         Rule 22
11           forms     what kind              of equipment                  you want to bring                   in.       I am
12           all     for    having           a pool            feed    rather        than       four     big     cameras              in
13           here.         It     gets       a little            crowded          for     you all,        but         I can't
14           tell     because              everyone          who submits             a Rule 22 checks
15           everything              --     I want to bring                  in every           kind     of equipment
16           in.      I'm bringing               in a drone.                   I know you're              not bringing
17           in a drone,              but     apparently               for     everyone          bringing             in the
18           big     cameras          we only          need one,             and like           I said,         I'm happy
19           to have a pool,                  but       it's      hard       to tell.
20                    With that,              let's           start        with     the     State.        Who will            be
21           handling           --    it     can be more than                     one person,            but     I just
22           don't     want to omit anyone                            if    I'm looking              to the      District
23           Attorney's              Office      for          answers        or responses               to concerns
24           raised        by some of these                      witnesses.               Who from the                DA's
25           office        or affiliated                     from the         DA's office              should         I be
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 1           expected        to     hear     from?
 2                     ATTORNEY GREEN-CROSS:                      Good afternoon,                    Your Honor,
 3           I'm     Anna Green-Cross.                   I'm    here      representing                the        District
 4          Attorney's            office      on the       motion         to     disqualify            prosecutors.

 5                     THE COURT:            So if       I have         questions            about     quashal            or

 6           assertion        of Fifth          Amendment             rights?

 7                     ADA WADE: Good afternoon,                          Judge.             I'm     Nathan         Wade,

 8           special        prosecutor          from the          District            Attorney's             office           as

 9           well      as   Donald         Wakeford.
10                     THE COURT:            So Wade and Wakeford                      for     Fifth         Amendment

11           quashal        and Green-Cross               for     the     disqualification.

12                     ATTORNEY GREEN-CROSS:                      Yes.

13                     THE COURT:            Okay,       got    it.       Thank        you.          All     right.               If

14           we pivot        over     to potential              witnesses             and counsel,                Mr.

15           Dillon,        good morning.                How are         you?
16                     ATTORNEY DILLON:                  Good afternoon.                     I'm     fine,        Judge.
17                     THE COURT:            You are       representing                Senator         Jones.               Is
18           there       anyone      else?            I don't         want      to    ignore         anyone.
19                     ATTORNEY DILLON:                  My associate                Anna Clapp             is    also
20           here.
21                     THE COURT:            Great.        Okay.          Clapp        as     in applause                or
22           Platt       as in.
23                     ATTORNEY CLAPP:                 Clapp      as in         applause,            two P's.
24                     THE COURT:            Got it.           Excellent,             and then         on behalf                  of
25           the     11 alternate            electors,          Ms. Pearson             and Ms. Deborroughs
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 1           I see Ms. Deborroughs                      virtually.            She is appearing                   in
 2           Newnan or even further                      away, but we greenlighted                          that
 3           virtual      appearance.               It's      fine,      and we've              got Ms. Pearson
 4           here.
 5                     ATTORNEYPEARSON:                     You do, Your Honor.
 6                     THE COURT: Okay.                    Anyone else              on behalf         of your
 7           clients       or just        the    two of you?
 8                     ATTORNEYPEARSON: No, Your Honor,                                    just     us.
 9                     THE COURT: All              right.            I want to start                with     a
10           question          for   either      Mr. Dillon            or Ms. Clapp,                and that              is
11           whether       you are        joining          in the motion              that        Ms. Pearson
12           filed      in which Fifth             Amendment concerns                      are     raised        as
13           opposed       to conflict            issues?
14                     ATTORNEYDILLON: Yes,                       Your Honor.                Insofar        as Ms.
15           Pearson's          motion,       I believe           at page 7.               It     raises     the          fact
16           that      these     witnesses         who have received                   both        subpoenas              and
17           target      letters        should          have their           appearances            waived.               We
18           join      in that       portion        of her motion.
19                     THE COURT: What is                   the      status         of your client?                   I
20           know he's          received        the      subpoena,           that     is     the    only     part
21           that's      been disclosed                 to me.
22                     ATTORNEYDILLON: Well,                         in the         government's            response
23           to our motion,             they      actually           point      out that           Senator         Jones
24           received          a target        letter       in this          case.
25                     THE COURT: Okay.                    Do you disagree                 with      that    or.
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 1                    ATTORNEYDILLON:                       No, I do not.              It     is     an irrefutable
 2           fact     at this         point.           We publicly            acknowledge                that      it        is       an
 3           irrefutable            fact.
 4                    THE COURT: Okay, so my thought                                 is      that        we talk             about
 5           some of the            Fifth       Amendment concerns                   first          because             it    may
 6          make moot for              practical             purposes         the    conflict             concerns
 7           that     you raise             in your motion.               Let me simplify                       my thought
 8          process         for     you.        If     in the        end I determine                 that        Senator
 9           Jones     need not appear                  because        of Fifth           Amendment reasons,
10           I don't        know we need to reach                      the     question             of
11           disqualification                  if    that     would be his             only         connection                to
12           this     grand        jury.
13                    This        Grand Jury           is not a Grand Jury                    that        would be
14          voting         on a bill           of indictment.                 It    is a Grand Jury                      that
15          has been tasked                  with      generating         a report            that        would
16           contain        in it,          ideally,         a recommendation                 to the            District
17          Attorney         as to whether                  she should         pursue         charges            or not
18          and what those                  charges         might     look     like,         and any other
19          things         that     that      Grand Jury             wants     to put         in there            other
20          than      a true        bill.
21                    So the        way the          Fifth         Amendment analysis                    plays      out is
22          that      I conclude             that      Senator        Jones        doesn't          need to appear,
23           if     they    state      his      name or something,                   and we can work
24          through         those      logistics             probably         in a smaller                group
25          setting.              Do you agree              that     we don't        need to reach                  the
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 1           question            of disqualification?
 2                    ATTORNEYDILLON:                      No, Your Honor.                      I do disagree.

 3                    THE COURT: Okay.
 4                    ATTORNEYDILLON:                      I think         that         the     disqualification

 5           issue        is     right,       and I think           that      it        has been exacerbated
 6           by the media                 circus      that's       been generated                  out of the
 7           Fulton        County's           DA's office           in this             case,      and that          the
 8           harm to my client,                      Senator       Jones,          is    that      he's     being         drug
 9           through           the mud publicly                 as a subject              of this          special
10           Grand Jury.
11                    THE COURT: Well,                     apparently              as a target,              not     a
12           subject.
13                    ATTORNEYDILLON:                      Well,         I say a subject                  as someone
14           who has been                 affected        by this         special         Grand Jury,
15           particularly                 as a target,            but with          the        effort      and focus
16           being        that       it's     going       to have an impact                     on the       Lieutenant
17           Governor's              race     this     fall.        And so if             the      DA's office             has
18           a hand in it                 and they        issue     a report             that      says,      Well,

19           we're        going       to recommend an indictment                               of Senator          Jones,
20           it    will        have a direct              impact         on the         election          in November,
21           and that's              been reported              in the media numerous                        times.
22                    THE COURT: Okay.                         So I'll      correct             a couple          of things

23           for     you.         One, and I may have misunderstood                                      what you were

24           saying,           but     the     District         Attorney's              Office          is not offering

25           any report.                    That would come from the                          grand      jurors      as
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 1           supervised          by me.            I appreciate              that         the      District              Attorney
 2           has fashioned               herself       as the         legal         adviser              to the Grand
 3           Jury,     and that's               an adaptation               of the         actual           language               of
 4           the     role     that       that      office         plays,        but ultimately                        it's        the
 5           Grand Jury's             report        not the          District             Attorney's.
 6                    Second,         and a concern                we do need to cover                            today,
 7           regardless          of how we approach                       the     disqualification                           piece
 8           would be the             timing        of the         release          of the              report.              Now, I
 9           think     that's         something            that     everyone              ought          to leave              here
10           today     with      a better           understanding                 of how that                will            be
11          managed.
12                    That is within                my purview,              and it            was helpful                   to have
13           it     brought      to my attention                   that      timelines                  could         collide,
14           that     the     Grand Jury            might         complete          Its        work in October,
15           and that         might       not be the best                   time       for        Its     work product
16           to be shared             publicly         in the way that                     many investigative
17           agencies,          that's          what the Grand Jury                       is      an effect              here,
18           they     hold      off      on taking          certain          steps         until          an election
19           has passed          with      a few exceptions,                      and we need to see
20          what's          going     on with        that         report,         if      it's          even ready                by
21           then.
22                    The Grand Jury                is authorized                 to continue                   its      work
23           through         May 1 of next             year,        so I don't                   know that              it's
24           right     yet      to worry           about     that         other        than        to get             a general
25          understanding                that      I wouldn't             be a big             fan of an October
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 1           surprise,               so if       we talk           about      when reports                 would be
 2           released           and we work through                          a Fifth          Amendment analysis,
 3           if     that       Fifth         Amendment analysis                        is,    in light         of a target
 4           letter,           et.     cetera,             Senator          Jones       probably           doesn't         need to
 5           --     and it's           not my analysis                      yet,     but      if     the     end result            of
 6           that       is     that         Senator         Jones        does not need to appear                           before
 7           the     Grand Jury,                  that      it     strikes          me that          the
 8           disqualification                      piece          is moot.
 9                      I don't             know from what the                      office          would be
10           disqualified                   if    Senator          Jones       isn't         being        asked      to do
11           anything           between            now and the               release          of the         report        other
12           than       the     timing            of the          report,          which doesn't              necessarily
13           tie      into      who is            investigating.                    If we were suddenly                     to
14           switch          to the          Lowndes County                  District          Attorney's             Office,
15           and they           finished             their         work with            the    Grand Jury             in
16           October,           we'd be faced                     with      that       same chronological
17           challenge.
18                      ATTORNEYDILLON:                            We would,            Your Honor,            with        the
19           exception               of the        issue          that      has to do with                 the press,            and
20           the       issue         that        has to do with                the public             favoring            of my
21           client's           opponent             for         Lieutenant            Governor,           Charlie         Bailey,
22           and the           the      District            Attorney           in this             case    has raised
23           $32,000           for     Charlie             Bailey        in the          headliner           that     she
24           hosted          for      him in June.                   Shortly           thereafter,            she issued            my
25           client          a target             letter          and then          shortly          after        that,     in
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 1           fact,        two days ago when they                           filed       their       brief,          that       was
 2           the       first          time     that       it    was publicly            known that               Senator
 3           Jones        was a target                 of this           Grand Jury           investigation,                  so on
 4           one side                we have a public                  target,       and on the             other         side         we
 5           have a headliner                       fundraiser            raising       $32,000,            and we
 6           contend            that        those      two things            create      the       appearance                of
 7           impropriety,                   that      under       the     Rules      of Ethics            in the          state
 8           of Georgia                this        is prohibited             conduct,            and then         with
 9           regard            to Senator             Jones       this     investigation                 in Fulton
10           County            should         be complete              at this       point,        that         this
11           District                Attorney's           Office         needs      to be disqualified,                       and
12           perhaps            some other             district           attorney       can be appointed,                         and
13           in that            case,         Senator          Jones      would would be glad                      to
14           cooperate                with     that       investigation,              because            he has
15           indicated                and indicated               early      on that        he was willing                    to
16           cooperate                and give         a statement               and meet with              their
17           investigators,                    and then           two weeks later                 he gets          a target
18           letter,            and then            six    days after             he gets         that      target
19           letter,            and 'm getting                  ahead      of myself.
20                      THE COURT: Yes,                        you are.            In fact,        I'm going              to cut
21           you off,            because            I simply        wanted          to know whether                    you
22           thought            it     was moot and you do not think                               it     is.
23                      ATTORNEYDILLON:                         I do not think              it     is,      Your Honor.
24           I think            it     is     right       at this         point.
25                      THE COURT:                     Okay, and we may get                       to it.           I was
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 1           expecting         a different              answer,     but     I appreciate              your
 2           answer.          I still         think      we need to start               with    the      Fifth
 3           Amendment concerns                  that     were brought               to a head in
 4           Ms. Peterson's              motion,         but what I want to do is                      start         with
 5           the     State     on that         because       your perspective                 with     the
 6           District         Attorney's          Office      on that,            because      your
 7           perspective          may help            me better      navigate           what to do,            and
 8           for     folks     in the         room here       representatives                 of the         District
 9           Attorney's         Office         and a lawyer          for        another       witness,         that
10           witness         and I have already               had some basic                discussions
11           about      how we might            work through              the     assertion        of Fifth
12           Amendment privilege                  in certain         context,           and so we will
13           probably         build      on that.
14                     So if     I'm referring              to what we talked                 about
15           yesterday,         that         is what I mean in connection                       with         that
16           situation.           Mr. Wade or Mr. Wakeford,                           what I would like                   to
17           hear      from you on is             is your overarching                   reaction         to
18           Ms.Deborroughs              and Ms. Pearson's                 motion       as we discussed                   in
19           the past.           I don't         know that         there        is    a blanket,         I don't
20           have to answer              any questions             that     would work here,                  but
21           insofar         as their         11 client's          sole     connection          to the
22           investigation              is    their      participation               in the    alternate
23           electors         scheme,         and that       was going            to be the          focus      of
24           99 percent          of your questions,                 if     that       is determined             to be
25           in light         of some of the              target     news that's              been     shared,
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 1           something           that      is protected                that         they    don't          need to
 2           respond       to.          I'm not sure                what the point                would be in
 3           bringing          those       folks           in on a non-immunized                       status        before
 4           the Grand Jury,                   so help         me work through                 that,         please.
 5                    ADA WAKEFORD: Yes, Your Honor.                                        I would begin                by
 6           pointing,           Your Honor,                to the      case         of State          v. Lampl,          that
 7           is     spelled       L-A-M-P-L.                  Your Honor,             may be aware               of this
 8           case.
 9                    THE COURT: Is that                         Clayton        County         --      yes?
10                    ADA WAKEFORD: I believe,                                I'm not         sure         of the
11           jurisdiction               that         it    began,      but     it     speaks        very      poignantly
12           to this       issue.              Specifically             what it            says      is,     that       "Under
13           Georgia       law,         the designation                 as a target               without           a formal
14           charge      being          leveled            against      an individual                  doesn't         change
15           the     ability       to subpoena                 someone to appear                    before          a special
16           purpose       Grand Jury."
17                    THE COURT: Fair                       point,      and a footnote                     may have been
18           dropped       somewhere             with         something         that        was provided,                but
19           that     was not my question.                            I don't         think       the word target
20           is     as magical           in State             proceedings             as it       is       in Federal
21           proceedings,               but     it        certainly      has caused               the       temperature
22           in the      room to go up and antennas                                  to go up everywhere,                      and
23           so whether           you you call                 him target             or you call             him less             of
24           a friend,           we now have witnesses                        who are          saying,           "I'm     not
25           comfortable           answering                those      questions,             I think         I may be
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 1           facing        criminal         liability."
 2                    In other          words,       I assert         my Fifth           Amendment privilege
 3           or protection,              whatever           you want to call                  it,   and that's
 4           what Ms. Pearson                 and Ms. Deborrough                  have done on behalf                     of
 5           their      11 clients,            so my question             isn't          doesn't           target    mean
 6           you can't          go any further.                You may want to think                          through
 7           in the        future       labeling          someone that            and then          hailing         them
 8           in because          of how this              is played       out.
 9                    Let's      just       stick      to the       topics.             If my sole
10           connection          to the        investigation            that       you are           conducting
11           with     this      Grand Jury           is that        I was one of the people                         who
12           agreed        or was nominated,                 or however           it     happened           to be an
13           alternate          elector,          you're      going     to ask me about                     that,    and
14           I have a good-faith                    basis     to believe           my decision                to agree
15           to be an alternate                   elector       exposes        me to potential
16           criminal         liability,            why shouldn't             I be able             to say I'm not
17           answering          any of those              questions       in the             context        of a Grand
18           Jury?
19                    ADA WAKEFORD: I understand,                             Your Honor.                  Thank you
20           for     the     clarification.                 I would say that                  the    11
21           individuals             identified           in the motion                are    not    all      situated
22           in exactly          the       same place,          so there          may be commonality
23           between         them,      but    there        is going      to need to be an
24           individual          determination               with     regard           to each of them.                  The
25           level      of involvement               is necessarily               individual,               so what I
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 1           think         would work is               for an individual                 assessment         to be
 2           made in each case,                     since         we undoubtedly            have the        ability
 3           under         the    law under            Lampl to ask the witnesses                         to appear,
 4           then      there       would be ahead                  of time        a discussion           between         the
 5           parties         with       Your Honor's               involvement           need be,         to discuss
 6           areas         of inquiry           that       may lead         to an identification                   of
 7           Fifth         Amendment rights.
 8                     If that          is    the      case,       I believe        we would be able                to
 9           work out a procedure                         where there         is not a badgering                   of a
10           witness,            but    simply         an ability           for    the    special        purpose
11           Grand Jury            to walk up to an area                      of inquiry            and be told
12           this      is going          to be foreclosed                   by the       Fifth     Amendment and
13           move on if            there        are       other     areas     to pursue,            so each them
14           will      require,          I believe             an individual             assessment.
15                     THE COURT: Are there                         any of the           11 - - I'm gonna
16           make it         12.        I'm going           to include            Senator        Jones     in the
17           group,         so any of those                 12 where the            only     topic        of interest
18           is     that     witness's           participation               in the       alternate         elector
19           scheme.
20                     ADA WAKEFORD: The answer                             to that       is no.
21                     THE COURT: Every one of them - - it                                       sounds     like        it's
22           a very         diverse          group,        and one of the             concerns        Ms.
23           Deborrough            and Ms. Pearson                  had brought           up was that          some of
24           them are            remote,        some of them have trouble                         with     mobility,
25           but you are               saying       all     of them have some other                      potential
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 1           connection              to       the      investigation                     or area               of interest              to     the

 2           investigation.

 3                     ADA WAKEFORD: Standing                                     in my place                   right       now,        Your

 4           Honor,         this         is     an investigative                         Grand          Jury,        so we're             not

 5           at     the     stage,            you      Janow approaching,                          say         a trial,           where         I

 6           can     give        a statement                 with           the      definiteness                   that         you might

 7           be seeking.                  What         I can           tell       you       is,        right        now,         can    I say

 8           unless         there's             only        one thing                that         we can          connect          one        of

 9           these        people          to,        then        no,        Your      Honor.

10                     THE COURT:                    Okay,         so just            to     flip         it      around          to    the

11           type      of       questions              asked,           you envision,                     or you and               your

12           colleagues              envision               asking            each       of the           12,       including

13           Senator            Jones,          questions               beyond           simply           why did           you decide

14           to     be an alternate                     elector?                  Tell       me more              about      that.

15           There        are      other         aspects              of the          2020         general           election             that

16           you would             be asking                each        of the           12 about.                 Mr.      Wade.

17                     ADA WADE:                 Yes,        sir,           Judge.           If        I may,        much like                the

18           witness            on yesterday,                    we have            planned             categories                to    touch,

19           and we understand                        per        the        Court's          instruction,                   if     we can

20           narrow         down these                buckets,                ask     the         general           question            about
21           that      particular                bucket,              let      the       witness               assert,       at        that

22           point        ask      the        witness            if     they        plan          to    assert           their         Fifth

23           Amendment             privilege                to     any question                    concerning               that        issue,

24           once      they        say        yes,      we move on.

25                     THE COURT:                    Sure.
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 1                     ADA WADE: Not a barrage                           of like        50 questions           where
 2           they      decide        to assert,            but    just      to be able           to hit       the
 3           different          buckets        though        and to answer                the Court's
 4           question          directly,           that,     yes,        sir,     there     are     other      areas
 5           that      we plan        to attack.
 6                     THE COURT: There's                    more than            one bucket         for      each of
 7           the      12 - -
 8                     ADA WADE: Yes,sir.
 9                     THE COURT:              --     Is what I'm hearing                   you say - - well,
10           then      we would need to work through                              that.         That helps,           I
11           appreciate           that,      and I think            there         is    ample case          law,
12           state      and federal,               that     authorizes            witnesses         who say up
13           front      that      I'm going           to assert           the     Fifth     Amendment to
14           still      be called           before         the Grand Jury               to then      assert         it.
15                     Bank of Nova Scotia                   from the            US Supreme Court              is     the
16           earliest          one I found where you sometimes                              need to have
17           those      people        get    in front            of the         Grand Jury         to actually
18           invoke,      because           they     might        not when put             in that        situation,
19           and then          the    investigators               are not         forced        to rely      on a
20           claim      that     they       will,         or to your point,                Mr. Wakeford             and
21           Mr. Wade, there                may be areas            that         come up that         aren't
22           properly          covered       by that         protection.
23                     I know we've           been bouncing                 around        a lot,     but     I think
24           it      makes sense           for me to hear                now from Ms. Pearson                  or Ms.
25           Deborrough          about       the     approach            you've        taken,      which is my
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 1           client       shouldn't         have to come in at all,                            and you may not
 2           yet      have been able              to speak          with      Mr. Wade and his                 team to
 3           know about          these       other         buckets,         to use his           terms,        but     I
 4           will      just     share      with      you in working                with        Mr. Wade and his
 5           team yesterday               and a different               witness           and lawyer,              there
 6           ar~ other          areas,       they     may be minor,                but     they're         still
 7           areas      where even the               lawyer         agreed        that     my client           doesn't
 8           have the          Fifth      Amendment right               not       to say,        this      is my job.
 9                     I've     had this          job for       10 years,            and then           they       move on
10           to what did you have to do with                                the    electors          scheme Fifth
11           Amendment,          and then          they      stop.          They don't           go any further
12           with      that     topic,       but     to the         District        Attorney's             offices
13           point      it's     a broad          waterfront,           and you have seized                        upon
14           maybe the big bright                    lighthouse,              vis-a-vis          your client's,
15           but      there     could      be some (unintelligible)                            buildings           at that
16           that      lighthouse          that      it's      appropriate               for    questions           to be
17           asked      and more importantly                    answered.
18                     So tell         me why you think                that       instead        the     answers
19           should       be,    and I mean you,                go to the            extreme,           it's
20           quashed,          they      shouldn't          even have to show up to give
21            (unintelligible)
22                     ATTORNEYPEARSON: Correct,                              Your Honor.               I think        the
23           first      place      to start          is,     just      to correct              a few things            or
24           to clarify          a few things,                from my understanding                       of what you
25           just      said,     all      of my clients               are     identically            situated          from
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 1           a legal          perspective.                        They were                 all       witnesses,                   they         were

 2           all     converted                 to      targets,              and there                has      been          no

 3           differentiation                        from       the       DA's           office           between                that.

 4                     THE COURT:                      Let     me interrupt                       you       for          a second.                   So,

 5           you are          saying             all      11 of them                    have       received                target              letters

 6           or     some communication                            from            the     District             Attorney's                      Office

 7           that      uses         the        "T" word?

 8                     ATTORNEY PEARSON:                                Yes.

 9                     THE COURT:                      Whatever              that         may mean in                     the      State

10           context,          but        just          because              two of            your         clients              have,          you

11           are     saying          they           are       similarly                 situated,                 it's          just          a matter

12           of     time      for        the        postman             to     get        there.

13                     ATTORNEY PEARSON:                                I have            11 target                 letters.

14                     THE COURT:                      Okay.            So in           that       way they                are          similarly
15           situated,             but      it         sounds           like         they         are,       and you note                       it        in

16           your      own motion,                     they       are        also         very        differently                       situated.

17           You have,              and        I apologize                   if      I have           the         title          wrong,           Mr.

18           Schaffer          as     the           chair         of the             Republican                   Party          in      Georgia,
19           A very,          very,         different                   role         in     connection                    with          the
20           affairs          of     election                 then.                I don't            remember              who the
21           elderly          individual                  difficulty                    with       mobility                and whatnot.
22           I've      never         heard             of the         person.
23                     It     is     a differently                       situated                 individual                once           you get
24           outside          of     that           lighthouse                 of,        I was an alternate                               elector.
25                     ATTORNEY PEARSON:                              That's              true,          Your            Honor,          but         I
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 1           don't       know what situation                     you dealt          with    yesterday             or what
 2           that     person's           role        was or who they              were,     but        in my
 3           client's          situation             I genuinely          cannot       think      of a single
 4           topic       or question             that      they      could     be asked          that      would not
 5           be either           under       the      Fifth      Amendment or a link                    in the
 6           chain.
 7                    What's         your name under                 these     charges          that     they      have
 8           said       they     are     going        to do by signing               your name, by saying
 9           who you are,               by putting            your      signature         on something             could
10           arguably          be,      as ridiculous              as that        sounds,        an
11           incriminating               fact,        so I don't          think      my clients            are
12           similarly           situated            to these        other     witnesses          that      you are
13           dealing       with,         anything          they      could     be asked.
14                    What's         your name?               That is        incriminating.               What's
15           your job?            That could             lead      to other         political           links      in the
16           chain,       that       could       lead      to e-mails          where they              talked      about
17           various       issues.              It    could      lead     to anything.                 I don't      see
18           any topic           that     could         actually         be relevant            to the      Grand
19           Jury's       inquiry,           upon which my clients                     could      not      invoke
20           their       federal,         their         state,       or constitutional                  rights,        and
21           their       statutory           rights,          and I think           absence       of proffer
22           that     there       is     such a subject               that     you would agree                  with
23           that       is not       incriminating.
24                    Eleven         people          should      not be essentially                    frogmarched
25           in front          of the        cameras          and the        Grand Jury          to be forced               to
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 1           invoke       their        rights,         and I echo Mr. Dillon's                        concerns
 2           about      publicity,               you know, we're                not use to that.                 We are
 3           federal          prosecutors,             there         is Grand Jury            secrecy.           We
 4           don't      have that            here,        but the          damage is being              done and has
 5           already          been done to all                  of my 11 clients,                   and I assume            to
 6           Senator          Jones,        is     affected,          and it's         only     going     to be
 7           exacerbated.
 8                     I mean the            threats          that      they're        getting,         the    hate
 9           mail      that     they're            getting,          the    hate      e-mails        they're
10           getting          here,        Your Honor,           for       doing,      in our view nothing
11           wrong.           They are           caught       up in ambiguous                circumstances,
12           which gives              them the         right         under      the    Supreme Court
13           precedent          to invoke            their       privileges.
14                     THE COURT: We're                    not going            to get       into     whether         they
15           should      be surprised                or not that             they      have become the
16           subject          of negative            attention,             based      on the        decisions
17           they've          made,        but     I'm wondering.                 You have now tried                  to
18           put     your arm around                 Mr. Dillon's               client,       who is      in an
19           actively          contested            election.              I am not aware             of any of
20           your clients              being        in that          position         as well,        but again,            I
21           don't      recognize            all     of their          names.
22                    ATTORNEYPEARSON: Your Honor,                                    Mr. Still,         Mr. Sean
23           Still      is a candidate                 for     senate        office,         and in addition,
24           Mr. Schafer              is    the     chairman          of the        GOP, and he is             involved
25           in all      of these,               and many of these                  people      are    involved            in
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 1           the     electoral          arm of the Georgia                    Republican          Party       for many
 2           of these          races,      so while          and I think               the point       is,     Your
 3           Honor,      so while          Mr. Jones           is     involved          in his     race,       and Mr.
 4           Still      is     involved         in his       race,        a lot        of these      people       are
 5           involved          in all      of these          races,          and I think          the point        is,
 6           Your Honor,           AVA regulations                  with      Georgia        Professional
 7           Responsibility               Rules     cite       favorably          with       special
 8           prosecutor          rules.
 9                    They specifically                say a target                 should     not be put          in a
10           Grand Jury          unless      they      are         immunized,           and here       you know
11           they     can't      be immunized              because           they're      federal,           and under
12           the     statute       you can't         immunize             against        a federal,           so here
13           the burden          really       should         be on them to come forward                         with
14           some bucket,           as you call              it,      that      they     can show we can't
15           invoke      on it.           If we can invoke                   on all      of the buckets            they
16           should      not be dragged              down here               in front        of the       Grand
17           Jury,     Your Honor.
18                    THE COURT: Okay, do I need to check                                     with     Ms.
19           Debrrorogh          as well,          or do you guys both                    have an agreement
20           that     she will          speak      up if      there's           something         she wants        to
21           add?
22                    ATTORNEYPEARSON: Your Honor,                                you know Ms.
23           Deborrough.            If     she's     got something                to add she certainly
24           will,     but      I think       I covered             it.
25                    THE COURT: All                right.           Mr. Wakeford             or Mr. Wade,
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 1           talk      to me a little               bit     about      the    last,       second           to last
 2           point         I heard      from Ms. Pearson                about         an inability            to
 3           immunize because,                  of course,            one ticket          you can punch that
 4           you may not want to punch for                             anyone,         but you may for                 some
 5           of the         alternate          electors        whose sole             connection            or primary
 6           connection             to what you're             investigating              may be the
 7           alternate            elector         situation,          would be to let              them know
 8           that      nothing        you say during                a Grand Jury           can be used
 9           against         you.
10                     If you put           that      in writing          then     you magically                have
11           some compulsory                powers,         I do,      that     did not exist                before,
12           but      if    there     is not a way to provide                         sufficient            protection
13           you may not have that,                        and I hadn't           processed           it     the way
14           Ms. Pearson             did.       Anything           you want to add on that?                          Mr.
15           Wade is         shaking        his     head.          As in you disagree                 or I don't
16           want to add to it?
17                     ADA WADE: I vehemently                         disagree,         and there            was no
18           effort         or attempt          or even any indication                     that       our position
19           would be to offer                  any type           of immunity,           if   that         is what
20           she's         looking      for.
21                     THE COURT: I didn't                     hear     Ms. Pearson            looking          for
22           anything.              What I heard            her say was that               even if           you
23           wanted         to,     and you're            saying      I don't      want to,           the     scope         of
24           the      District        Attorney's            offices       offer        of immunity            wouldn't
25           be sufficient              in Ms. Pearson's                mind to protect                her clients
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 1           such that          they    could        be compelled              to testify,              but we don't
 2           need to work through                    that     if     that's          nothing         that      the
 3           District        Attorney's          office         is     looking          at right            now.
 4                    ADA WADE: Okay.
 5                    THE COURT: So then                     what do you see,                   and I guess,                 the
 6           vision        you have for          moving forward                     with      the     Fifth
 7           Amendment concerns,                 Mr.Wade,            would be to have the                       kinds            of
 8           individualized             discussions             like       we had yesterday,                    and like
 9           you suggested             you would have with                         counsel.           I guess        it
10           would be Ms. Pearson                    and      Ms. Deborrough                   for     theses        11,
11           Mr. Dillon          and Ms. Clapp               for     Senator           Jones        to talk         about
12           the     buckets.
13                    In no way would I be requiring                                 that      here     are     the        112
14           questions,          here    is    a script,             but      it     would be that              these
15           are     the    categories          that        we want to explore,                      and then             there
16           are     the disagreements                 between         your team and counsel                         for
17           the witness,            then     we might         need to have a group
18           discussion.
19                    ADA WADE: I think                     much like          the      process         on last
20           evening,        on the      day of the            witnesses               testimony,             have that
21           conversation.              If we can agree                 upon the buckets,                      great.
22           If we can't,            then     Your Honor would be asked                              to get
23           involved.           I don't        think        that      having          a conversation                well
24           in advance          of 11 people's               testimony                     I don't         think         it's
25           fair.         I think      it    puts      the    State          at a disadvantage.
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 1                         THE COURT: No, I agree.                               I wasn't        suggesting             that
 2           you had to map it                      out in a lot              of detail               or particularly,
 3           far      in advance,             but more along                  the       lines     of what we talked
 4           about          yesterday.
 5                     ADA WADE: Yes,                     sir.
 6                         THE COURT: One more question                                 for     one or the         two of
 7           you.           If target         letter            is not a reason                 to conclude             that        a
 8           witness          shouldn't             appear        in front          of the Grand Jury,                     this
 9           is     a two-part             question,             is   it    not at least                a reason         for
10           that      witness            to have heightened                      concern,        and if         not,      why
11           send it?            What was the purpose                         of it?
12                         If the        purpose       was to get             them more concerned
13           shouldn't           they       be more concerned                      and say wait             a minute?
14           I'm not going                 to answer             these      questions            in front         of a
15           Grand Jury.                  I might         sit     down with          you and have a proffer
16           if     it's      protected,             if    it     can be protected                     enough.          I'm
17           trying          to understand                the     thinking.
18                     ADA WADE: Judge,                         to be transparent                 with      the    Court,
19           the discussions                  that        took place             with     our side          and Ms.
20           Pearson          and Ms. Deborrough                      prior        to a few of their                    clients
21           having          voluntary         interviews,                 the     questions            were what is
22           the     status         of my client                 at this         point?         We disclosed               the
23           status          of the        client         at that          point     - -
24                     THE COURT: So it                         was responsive.                  It     wasn't
25           proactive,             it     was reactive.                   You're        asking
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                                                                                                                               24
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 1                     ADA WADE: And we said                    to them at that                  time,      if     at
 2           any point         the     status        of your client              were to change,                  we'll
 3           disclose         that     as well,        and we did that.
 4                     THE COURT: So that                 explains         why, but             then     help      me
 5           think      through        what the        consequences              should       be of that
 6           elevation         in status.              I assume it              wasn't     a downgrade               that
 7           you've      been downgraded               from,      we've         actually         already
 8           indicted         you and we've            dismissed          it,     and now you're                  only
 9           target.          Why shouldn't            there      be the         enhanced         concern          and
10           the beginning             of the        discussion       that        it     may be that              my
11           client      is    going      to invoke        his     or her         Fifth       Amendment
12           rights      here?
13                     ADA WADE: And certainly                     this         discussion,             Judge,       from
14           our perspective,              is    not an attempt                 to circumvent              anyone's
15           rights      in terms         of a fifth           amendment,              so I think          that     what
16           comes up is             exactly     what we're          doing.
17                     THE COURT: Okay.
18                     ADA WADE:           It    gives     Ms. Pearson              the    right         to stand
19           up and say this              is    not what we want,                 and it         gives      the
20           State      the    right      to stand        up and cite             Lampl,         they'll          have
21           to come in and do that.
22                     THE COURT: Lampl Bank of Nova Scotia.                                      They need to
23           come in and assert                 it    in front       of the         Grand Jury             as
24           opposed      to having            a lawyer        say or the witness,                      him or
25           herself,         you know what?               I'm thinking                 about     it,      I'm not
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 1           comfortable           doing       that.          No matter           what you ask me, I'm
 2           going       to invoke.
 3                      ADA WADE: Yes,               sir.
 4                      ATTORNEYPEARSON: Your Honor,                               may I respond                 briefly?
 5                      THE COURT: I was just                      about      to ask you that,                     and
 6           there       you go.
 7                      ATTORNEYPEARSON: Your Honor,                               that's          not what Lampl
 8           says,       as you accurately                  pointed        out.       It     says         they     can
 9           subpoena         people        to a Grand Jury,                and if          that      special          Grand
10           Jury       abuses     its      power,      you'd        better        bring      it      up at the
11           time       or there         is nothing           you can do about                it      later.           We're
12           not going           to suppress           the evidence.                 We're         not going           to do
13           it,      so it      doesn't       have anything               to do with              this     Court's
14           authority,           either       under        the    quashal         statute          or the
15           supervisory           ability          of this        Court      to quash             and otherwise
16           properly         serve        a subpoena.
17                      We're     not      saying      they       can't     subpoena          us.          We're
18           saying       you could           quash     it,       and we're          asking         you to.            It's
19           clear,       I don't          think,      Your Honor,            that     under          these       facts
20           it    is    sufficient           to drag         11 people           in here          and then         have
21           them figure           out the buckets.                   I genuinely             cannot           think      of
22           a single         question         or area         of questioning                that         I would be
23           comfortable           allowing          them to ask my clients                         including
24           their       names,       under     these         circumstances,                and they           shouldn't
25           be dragged           down here          from far         away places             of the           State
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 1           just     to be told,              you know, either             by you or us coming to
 2           you for          11 witnesses,              however many times               that     they       are not
 3           going      to answer          the     questions.
 4                    They should              have to come forward                with      at least          a
 5           bucket      list,       so to speak,             that      Your Honor approves                   before
 6           they     are      dragged         down here.            That is not too much to ask,
 7           and if      it      can't     be done before               their     appearances           next
 8           week,      then      you can quash             them and we can revisit                     it,        and
 9           we can set           them for         a different           time,     but they         should          not
10           be dragged           down here          and put         on public       display        for       doing,
11           in our view,            nothing         wrong,       but    their     own ambiguous
12           circumstances               being     forced        to invoke        their      rights,          and
13           it's     just       not appropriate              under      the Ethical             Standards
14           under      the      Georgia         Professional           Standards
15                    THE COURT: But if                    they      did nothing          wrong,       why aren't
16           they     talking        to the        Grand Jury?
17                    ATTORNEYPEARSON: Because                           she's     called         them targets.
18           I mean, Your Honor,                   we've      outlined          in our motion           why we
19           don't      even think             there's      jurisdiction           here,         why the       law
20           protects          what they          did,     but    as you know the                Supreme Court
21           has made clear               that     the main purpose,               one of the main
22           purposes          of the      Fifth         Amendment is           to protect         innocent
23           people      who can be bound up in ambiguous                             circumstances,                 and
24           I don't         think       but     you're     going       to find,      at least          the        cases
25           that     I've       never     been in where ambiguous                    circumstances                 are
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 1           more ambiguous                  and politicized                    and fraught           than     this,           and
 2           so,     you know, that                   is why - -
 3                     THE COURT: I don't                          know that         politicized              makes it
 4           ambiguous,              but you're             using        the word ambiguous,                   and I'll
 5           let     you use that                  word.
 6                     ATTORNEYPEARSON: We certainly                                    have different                 views
 7           of the          facts         in the         law,     Your Honor.
 8                     THE COURT: There                       are       entirely       different         views         of
 9           certain          facts         and non facts,                 I hear      you on that,             but        I
10           don't          know if         that     makes it            ambiguous,           but     I hear      you,          and
11           I am mindful                  of an inconvenience                     factor,       if    in the        end the
12           product          of the         exercise             is    to have a witness               say I assert
13           the     Fifth,          and that's             it.
14                     Hopefully,              folks        will        exercise       discretion,             but     I
15           don't          think      there        is,     other        than      some rules          that     apply
16           more in a Federal                      setting            where the word target                   means
17           something              different,             not entirely             different,          not entirely
18           different.                I wasn't            able        to find      any legal          precedent               that
19           says      it     was improper                 that        the Court       should         have barred               the
20           investigating                  body from requiring                     someone to come in and
21           in their           face        saying         I'm not answering                  any questions.                    I'm
22           not even going                  to tell          you my name.              That may actually                       be
23           something              that     the     Grand Jury             may want to know, that                         this
24           person          won't         even give          her name under                 oath.      That could                  be
25           instructive              to what the Grand Jury                         is doing,          but     they
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 1           wouldn't             know that        if    they      never      met the person.
 2                     ATTORNEYPEARSON: Well,                         given          that        they're           not
 3           supposed         to draw any negative                    inference              from an
 4           invocation              I wouldn't           think      that         would be evidence,                       but
 5           even if         it     were,     I think        the     reason          you can't              find     any
 6           precedence             is because           in the      Federal            system,         and then              the
 7           State      system         doesn't          do Grand Jury               work very            often,          and
 8           then      the        Federal     system       they      don't          do this.
 9                     They don't           bring        targets      in and try                 to force           them to
10           testify         because        they        recognize          it's      unethical,              as the AVA
11           has said         and as the            Georgia         Professional                 Rules       have
12           outlined,             and we would ask that                    at a minimum, Your Honor,
13           that      you ask them proffer                     the buckets               to you or to us
14           before      our people              are     brought      in.
15                     THE COURT: Fair                   request.            I appreciate                that.
16                     ADA WAKEFORD: Your Honor,                            may I address                   one point?
17                     THE COURT: Hold on.                         Mr. Dillon,              if    you're           going       to
18           talk      more about           disqualification,                     not     yet.         If    it's        the
19           Fifth      Amendment you've                  been patient,                 so I'm happy to hear
20           from Senator              Jones'       perspective.
21                     ATTORNEYDILLON:                    Keeping          quiet        my mouth quiet                   in
22           this      whole         disqualification                thing          - -
23                     THE COURT: But go ahead.
24                     ATTORNEYDILLON:                    Trust      me.          I call         the     Court's
25           attention             to the     Georgia        Code,         that's         15-12-100.                It's       a
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 1           procedure           for    a special               Grand Jury            and hours          of that           Grand
 2           Jury,      and under             Subparagraph                Cit        says,     "while         conducting
 3           any investigation                   authorized               by this        part,         investigative
 4           grand      juries         may compel evidence                       and subpoena                witnesses."
 5           It may inspect                  records,           documents,            correspondence,                and
 6           books,      blah,         blah,          blah,         and it       specifically                excludes
 7           subpoena        targets,            Your Honor,               and these           are      the      rules
 8                    THE COURT: You mean it                              says       you may not do that                      or?
 9                    ATTORNEYDILLON: No, it                               doesn't,           but because            it       is
10           not     included          in the          list,        we all       know the         cannons          of
11           constructing              statutes.                If there         is    a list          and it's          not
12           included        in the           list,       it's       excluded          from the          list,       and
13           this     is the provision                    under        which this             Grand Jury           was
14           impaneled.
15                    THE COURT: It didn't                           say subpoena              tall      people          or
16           short      people,         it     says       witnesses.
17                    ATTORNEYDILLON:                          It   says     witnesses.
18                    THE COURT: You're                         saying       a target          is not a witness?
19                    ATTORNEYDILLON: A target                                  is    a different             category
20           than     a witness,              and the           case      law in the           state         of Georgia
21           says     that    because            targets            are    discussed           differently                in the
22           Lampl case,              and that's               a good case            to cite          on.       A target
23           is different              than      a witness,               and this           doesn't         say subpoena
24           targets.            It    says      subpoena            witnesses.
25                    THE COURT: Okay.                          Mr. Wakeford.
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 1                    ADA WAKEFORD: Your                        Honor,            I'll      read        directly          from

 2           Lampl.
 3                    THE COURT:                Lampl       is    getting                a lot      of attention.                     Am

 4           I right?           Is    it     a Clayton           County             - -       It    was some sort                   of

 5           city     counsel

 6                    ADA WAKEFORD:                    I think             so,      Your      Honor.

 7                    THE COURT:               Ms. Green-Cross                      is    now nodding               her    head.

 8           She would          know.          She's      the     appellate                 expert.               All     right.

 9           Continue.

10                    ADA WAKEFORD: "One who has                                    not     been         so charged,

11           meaning      formally             charged,          in    a formal               charging             instrument

12

13                    THE COURT:               Which would             be every               single        recipient               of

14           a subpoena          so far?

15                    ADA WAKEFORD: Yes.

16                    THE COURT:               All     right.

17                    ADA WAKEFORD: --                    may be compelled                         to     appear        before           a

18           Grand      Jury     that        he retains           the            option       during        his

19           appearance          of        invoking       his     privilege                 against

20           self-incrimination                     and refusing                  to     testify          regarding           the
21           incriminating              matters,          this        is         true     even      if     the      witness           is

22           a target          of the        grand      jury's         investigation."

23                    THE COURT:               So Mr.       Dillon               stood      up first,             and     he's

24           freshest          from        saying      ha ha,         take          Lampl        that      way,      State.

25           So did      he skip            a sentence?               That's             a pretty          powerful
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 1           sentence,          Mr. Dillon.
 2                    ATTORNEYDILLON: A very                         powerful          sentence,            and with
 3           regard       to regular            grand     juries,       I have no doubt                   that      the
 4           District          Attorney         might,      but the       statute           under        which the
 5           subpoena          is     issued      in this       case    properly            is not that             the
 6           ordinary          Grand Jury,             nor the      special         grand        jury,      and it's
 7           under      this        chapter       in the Georgia              code,        and the        rules         are
 8           different.
 9                    THE COURT: So your argument                             is    that        a regular         Grand
10           Jury     that      could         indict     and would target                  --    Lampl says             you
11           can call          that     person         in front      of a that             Grand Jury            who has
12           the     ability          to indict         Lample,      and they          can invoke            his
13           Fifth      from which             they     need to draw no adverse                      inference,
14           but     a special          purpose         Grand Jury        which can indict                   no one
15           or anything,              they     can't     subpoena        a target              because      they        use
16           the word witness                  instead      of target?
17                    ATTORNEYDILLON:                    Yes, Your Honor.
18                    THE COURT: Is the word target                                used     in the
19           non-special              purpose      Grand Jury          statute,            or is     the word
20           witness         used?
21                    ATTORNEYDILLON:                    Interesting           question,           Your Honor,
22           but     I do note          that      the    subpoena       is
23                    THE COURT: What's                   the     answer?
24                    ATTORNEYDILLON:                    I don't       know, but            I do note            that
25           the     statute          under     which the         subpoenas           were supposed               to be
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 1           issued         in this       case     is under           Title      15, but the           subpoena           is
 2           actually          rolled       out under           the provision           of the         Georgia
 3           code that           is     not under        Title        15, and they            were,     in fact,
 4           technically,               improper        subpoenas         because       they         were issued
 5           under      the      normal      statute          and not under            this     chapter.
 6                     THE COURT: So I guess                         we could       republish          them and
 7           resign         them if       that     is    the     - -
 8                     ATTORNEYDILLON:                   Exactly,         and then         recognize             that
 9           this      rule      applies,         but not the            Lampl rule           that     we're
10           citing         here.
11                     ATTORNEYPEARSON: Your Honor,                                we would take             a
12           slightly          different          differentiation                of Lample
13                     THE COURT: A third                     reading.
14                     ATTORNEYPEARSON: It's                          actually       the      same read,            and
15           that      is     the      sentence      that       he read       is    (unintelligible)                    What
16           the     the      Supreme Court             is     saying      in Lampl,          we have an
17           individual             who didn't          take     his     Fifth      in the       Grand Jury,
18           the      special          purpose     grand        jury,      the     special       purpose          Grand
19           Jury      used      its     authority           to have a conveyer                who was later
20           indicted           in an improper               Grand Jury.
21                     I'm not          suggesting           they     were improper,             but    a
22           different           regular         Grand jury,            and then       he tried         to get
23           evidence           suppressed         from the            special      Grand Jury.              This        is
24           not about           whether         they    can compel people.                    We're        not

25           disputing           they      can issue           the     subpoenas,       everybody            says
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 1           they      can.       That is the             only        thing     Lample even arguably
 2           says.       The only          issue         then     is you get           to quash       them if           you
 3           want to.
 4                     If you believe              that        you should,          and there's            nothing
 5           that      says     your authority                 under      the    statute,      or under
 6           supervisory              authority          is    in any way affected                by Lampl at
 7           all     whatsoever,           so you clearly                 have the        authority          to do
 8           what you think               is proper            with     this     Grand Jury          here,        and
 9           we're      asking         you,      on behalf            of our clients,          not to have
10           them frogmarched                  in front         of a cameras             and in this
11           courtroom.
12                     THE COURT: Okay.
13                    ADA WAKEFORD: At this                           point     I was going          to address
14           the     original          point      I was going             to make, which             is    I believe
15           we've      heard         the phrase          "frog        marched"        in front       of the
16           cameras          three      times     now.
17                     THE COURT: All                right.
18                    ADA WAKEFORD: I do not want to talk                                    about        this,     but
19           I have to at this                   point.         Publicity         is     a hindrance           to the
20           special          purpose      Grand Jury's                work.      I believe          earlier
21           Ms. Pearson              stated      that        there     may have been a witness                      in
22           here      yesterday,          but      she didn't            know who it         was or how they
23           appeared,          or what they              had talked            about,      which     is an
24           indication           that     the witnesses                can come before              the     special
25           purpose          Grand Jury,          and no one ever                know anything              about
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 1           it.       If witnesses                 exercise           their      First            Amendment right                  to
 2           disclose           after        the      fact       or before          the       fact         they     were
 3           called,          then      they        are      allowed        to do that.                    That     is    the
 4           source          of publicity              around          this.        It       is,      I think        here        we
 5           are     tired          of hearing            that      there        is publicity                jammed up by
 6           the     District           Attorney's               Office         in order            to create            a circus
 7           around          this     when we have actually                         taken           pains      to try          to
 8           create          an environment                  of circus           around            this,     so there            is
 9           no frogmarching,                   and there              are ways to come before                            the
10           special          purpose          Grand Jury              without          publicity            being        brought
11           into      it.          I just      wanted           to clarify             it    right         after        the
12           third       time we heard                 that       phrase.
13                     THE COURT: Okay.                          Well,         I appreciate                much of what
14           you said.               I think          it's       a little         rich        to suggest             that        any
15           particular              side      that       has avoided             the        cameras.             One need
16           look only              at basically              any major           news outlet,                 and you will
17           see who is              talking          to the media,               and it            is not always                the
18           lawyers          for     the witnesses,                   so I think             everyone            involved            in
19           this      has taken             full      advantage               of media            coverage.
20                     That         said,      they're           are     some things                that     can be done,
21           I know, because                   I've       been asked             to be involved                   with      it      to
22           ensure          that     witnesses              can enter           into        the building                and
23           leave       the        building          without          much harassment                     from the media,
24           and we can get                  to do that.
25                     I don't          know that             there       are many of Ms. Pearson's
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 1           clients      that     the media would even recognize                             when they
 2           walked      up the      front        steps     of the        courthouse          if    that's         how
 3           they      came in,      so I think            the    concern          about    putting          people
 4           on public       display         is a bit        exaggerated             for most of her
 5           clients,      but     if     there     are     clients         who need special
 6           accommodations             and ingress          and egress             we can always
 7           accommodate          them,      we've        done it        before      and can do it
 8           again.       Anything         more from the              District        Attorney's             office
 9           on the      fifth     Amendment concerns                    raised      in Ms. Pearson                and
10           Mr. Deborrough's              motion         as expanded             by Mr.Dillon?
11                     ADA WAKEFORD: No, your Honor.                               We have responded                to
12           your questions,              and we have proposed                     a method        going
13           forward,       and we have nothing                   else      to add.
14                     THE COURT: Thank you.                      Okay.           Ms. Pearson         or Ms.
15           Deborrough,          anything         else     on behalf             of your     11 clients            in
16           connection          with     the     quashal        of the      requests,         in other
17           words the       Fifth       Amendment concerns?
18                     ATTORNEYPEARSON: I think                          that's      it,    Your Honor.
19                     THE COURT: Mr. Dillon,                     anything          more on the            Fifth
20           Amendment aspects?
21                     ATTORNEYDILLON:               No, Your Honor,                 we've     got the
22           motion      as communicated              earlier.
23                     THE COURT: Okay.                   Thank You.              So I will        not be
24           quashing       any of the            subpoenas,          but    I will        be asking                we
25           may need to change                 some of the           timelines.            How many of
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 1           your      11 are        coming all        at once?            Are all          11 supposed              to
 2           come out the             same day or are             they      spread         out,        Ms. Pearson?
 3                    ATTORNEYPEARSON: Your Honor,                            we have - - they                       are
 4           all      coming on the            26th,     27th,      and the         28th,         so that's           3,
 5           4, 5.        I allocated           over     the     states      maybe 9 exactly.
 6                     THE COURT: The process                     is going          to take            longer
 7           because       what will           happen,     I suspect          it     will         become more
 8           regularized             and streamlined             after      the     first         few of your
 9           witnesses,          but what will            need to happen                  is    that     your
10           witness,          and you Ms. Pearson                and Ms. Deborroughs,                         if    she
11           clears       quarantine           she can be here              too.          She can appear
12           virtually,          however        we need to make it                  work,         however           we can
13           make it       work.
14                     We'll     need to sit           down, and it           may just             be lawyers              at
15           first,       so you can have your                   client      wherever             you want them
16           to be,       as long       as he or she is              in the building,                    and
17           you're       going       to have that         bucket          conversation                and see
18           where there             is agreement         or disagreement,                     and you've            made
19           very      clear     that     you can't        think          of anything,             not even
20           astrological             signs     because        somehow that               would be tied               to
21           something,          or it        would be irrelevant,                  but that
22           conversation             needs     to happen         so that          that        we can,         lawyers
23           and I can have a conversation                          about      is     it       really      a
24           complete          impasse,        of I may make the               ruling,            and you can
25           challenge          it    in whatever         way you want,               that        the witnesses
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 1           will    need to go in front                      of the Grand Jury                   to answer          name,
 2           rank,      and serial           number and then                  the    rest       will      be Fifth
 3           Amendment.
 4                         It     helps      the     District          Attorney's              office         has 12
 5           because       they      know basically               that        they're          going      to ask one
 6           question       beyond         name,      rank,       and serial             number,          if     I get
 7           folks      passed      that      because          there      is not an area                  that      can be
 8           explored       that         I don't      think       is unprotected                 by the          Fifth
 9           Amendment.
10                   ADA WADE: One thing                       I believe,            Judge,           from our side
11           that    is noteworthy,                is the       very      thing         that     the      District
12           Attorney's           office      has fought           so hard           to do, was keep our
13           witnesses          secret      and out of the public                        eye.          What Ms.
14           Pearson       just     did was,          she gave the              dates          that     her clients
15           were coming in here,                    that's       the     exact         thing         she's
16           complaining           about.          She gave - -
17                   THE COURT: Well,                  before          we draw more attention                        to
18           this,      I did not hear               Ms. Pearson              say Steve          Jones         is   coming
19           in on this           day.      She divided            it     over       days and did not
20           identify       people,         and I mentioned,                   if    there       is     a concern
21           about      letting          someone in the            building             discreetly,              we can
22           address       that     and get          someone in the building                           discreetly.
23                      Most of these              folks      who walk,             as long           as they       are
24           wearing      normal          clothes,         they    can walk right                     in the
25           courthouse,           and those          cameras          that     seem to be glued                    to our
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 1           courthouse             steps       right        now wouldn't               even pivot          on that,             so
 2           I think        the      concern          is greater               than     it     needs     to be,       but we
 3           can accommodate                 it.        I'm not going                 to ask someone to be
 4           more specifically                     about       who is          going     to be here          when,          I
 5           just     need to know if                   it's         going      to take         a while      for      these
 6           witnesses            because          there       will         be the      conference          before          the
 7           witness        testifies.
 8                    Testimony             may be greatly                   reduced         because       of the
 9           outcome        of the          conference               may be that             testimony       is      going
10           to be just             as long          as the          District         Attorney's           Office      had
11           forecast,            but there's               still      this      lawyer-to-lawyer
12           conference             in advance,              but      that's         how we're         going       to work
13           through        it,      and as I said,                   we may develop               some guidelines.
14                     A ruling             I make with               Witness         One, isn't           going      to
15           apply       to Witness            Two insofar                  as she is          similarly
16           situated.              I don't          believe          all      are    similarly          situated.
17           There's        still        the       overlap.            They are          all     alternate
18           electors,            so there           are     certain           commonalities,              and I assume
19           that     is why they              all      want to have you and Ms. Deborrough.
20           Similarly,             they     are      all      situated          in this         same situation,
21           but     they     are     not clones,                   and so there             may be areas            that
22           are     explorable             with      Witness          One that          are not         explorable
23           with     Witness         Two, so I'm going                        to let        the parties           develop
24           the     framework           they        want to use as we go forward.
25                    I am here             to assist               when you reach              an impasse,           but        I
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 1           don't      think         it's         appropriate         under        the          case       law Lampl and
 2           others      to quash             the      subpoenas,           but     it      may be that                   these
 3           witnesses            have very,            very,       brief         appearances                 in front            of
 4           the     Grand Jury.
 5                     ATTORNEYPEARSON: Your Honor,                                   just            so that        I
 6           understand.               We aren't             going     to elaborate                    on it        ahead         of
 7           time.       We will             collaborate            when the             first         witnesses            come
 8           here      or in between                 each witness?                 I mean,             we've        got     11
 9           people      to get             through,         so I guess            I need some clarity                            on
10           how that's             going       to work for            each witness.
11                     THE COURT: So I invite                          early        collaboration,                        but     I
12           also      understand             that      if    the    District             Attorney's                Office            is
13           reluctant            to get        too specific            too far             in advance,                   so they
14           may buckle             under      the      pressure        of how long                    that        would take
15           as well,         and there              may be some basic                    frameworks                that        they
16           want to share                  with     you in advance,                but          if    you're        now
17           getting         into      the nuts          and bolts           that         I get            to stay         out of.
18                     I will        get      in the mix should                    an impasse                 be reached.
19           If that         impasse          is     reached        tomorrow,             because             you're
20           talking         about          a witness         who is coming on an undisclosed
21           date     next        week,       at an undisclosed                    location,                then     I could
22           talk     with        you all           tomorrow,        but     it     may well                be that         the
23           default         is     let's      talk      when you're              witness              is here.
24                    That may mean you won't                         get      to everything                       next     week.
25           That was - - the                  reason        why I was asking                         is    that     if     they
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 1           are     spread       out you four              weeks you - - they're                        all     coming
 2           in next          week.        I could       see it       being      that        what had been
 3           scheduled           for     Thursday        ends up being               what was scheduled
 4           for     Tuesday,           because       you only        got through             two people                 on
 5           Tuesday          because       of the       confirming           that      doesn't           occur          until
 6           Tuesday,           so I'm not          forcing      an answer            to your question,
 7           what you develop                  with    the     District        Attorney's                Office.
 8                     ATTORNEYPEARSON: In light                            of that,          Your Honor,
 9           would the           Court      at all       be amenable           to to moving our grand
10           jurors,          not quashing            them but moving them to later                                so that
11           we can work this                  process       out in advance?
12                     THE COURT: So another                      really       good question                    for      you
13           to explore           with      the     District         Attorney's          office,               they    may
14           think      that's          wise      and necessary           as well,           and it            may well
15           be that          6 of the         11 go next        week because                everything               is
16           taking          a little       bit     longer      because        we are being                    careful
17           about      the      concerns          raised      in your motion,                but        I have made
18           clear      that       other       than    checking        on the welfare                    of the          Grand
19           Jury,      in other           words they          are    not     in session              from 8 a.m.
20           to      10:00       p.m.
21                     I don't          micromanage          who gets         called         it     or when,             but
22           I'll      let      you know that            the    District        Attorney's                office           has
23           been      flexible          at having          to move things              if        obstacles           come
24           up.
25                     ATTORNEYPEARSON: Well,                         we had asked                 for     that,         Your
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 1           Honor,      and they          refused,           that's         why I brought                  that         up, but
 2           we'll      talk      to them about               it.
 3                     THE COURT: Well,                  things           are     a lot      less          streamlined
 4           than      they     were before,             so you work through                         that.
 5                     All     right.        Let's       talk        about        disqualification                       and
 6           this      process          has moved up to the                     driver's            seat     on the             DA's
 7           side,      and I think           since       Mr. Dillon               got in about               three
 8           quarters          of his      argument           in answering              my simple             question
 9           of do you think               it's      moot or not,                 I want to give                   the        DA's
10           office      a chance          to share           some of their                 perspective                  about
11           it.
12                     I think          the word partisan                  gets       thrown         around         a lot            in
13           this      and why they           think       disqualification                    doesn't              fit        or
14           how to manage what I think                             are    some valid           concerns                 that
15           Senator         Jones       has raised           through           counsel,        but at a minimum
16           pretty      clear          appearance        of conflict,                 if    it's          developed               not
17           before      the      investigation               started           but    in the midst                 of it.
18                     ATTORNEYGREEN-CROSS: Thank you,                                      your Honor.                   I
19           think      Your Honor has used the phrase                                 appearance             of
20           impropriety.                There     is Mr. Dillon's                    use of the phrase
21           appearance           impropriety            or appearance                 of conflict,                 and the
22           first      place        the   State      is going             to direct          your attention                         to
23           is      on the     law cited          in the           responsive          brief         that
24           appearance          of conflict             is     enough.
25                     Under Georgia              law,    the disqualification                             of a
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 1           prosecuting             attorney          or entity             requires        an actual
 2           conflict,          not      speculative,                not conjecture,               but      an actual
 3           personal          interest,           and in this               case    would be the
 4           investigation               of the        special         purpose          Grand Jury           or the
 5           prosecution               potentially              of Senator           Jones.
 6                       So I think            that       while       optics        in this        case      may be
 7           more front           and center              than       in some others,               optics        doesn't
 8           carry       the    day,       it's       an actual         conflict,            and there's             just
 9           nothing       at all          that       suggests         that      there       is    the      actual
10           personal          interest           on the behalf               of the        District         Attorney.
11           I'll     note      that       insofar         as the motion                target,        special
12           prosecutor          Wade, there               is
13                    THE COURT: Oh, thank                           you for        that.         Pause      on that.
14           Mr. Dillon,             do you agree               --     originally            we were going              to
15           talk     about       just      disqualification                   and Ms. Deborrough,                    and
16           Ms. Pearson             arrived          on the         scene     about        the    Fifth
17           Amendment.              My first          question         was meant            to be that,             do you
18           agree,       Mr. Dillon,              that     Mr. Wade's              purported          donations,
19           and I'm not attributing                        anything           to him, but             it    looks      like
20           from the          records         that       Mr. Wade gave $2,000                     to Mr. Bailey
21           when Mr. Bailey                was running               for Attorney            General.
22                    No donations                of record           or any public               insofar        as the
23           donations          is     the public           because           records        are made of it,                 no
24           public       donations            in support             of Charlie            Bailey       by Nathan
25           Wade since           Charlie          Bailey         switched          races,        and is      instead
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 1           trying      to be Lieutenant                  Governor        instead        of Attorney
 2           General;         do you agree              with    that?
 3                    ATTORNEYDILLON:                     I agree       with      that,    Your Honor.
 4                    THE COURT: Okay.
 5                    ATTORNEYGREEN-CROSS: That was my whole paragraph.
 6                    THE COURT: You don't                      need to cover             that,      because
 7           that     was very            persuasive.
 8                    ATTORNEYGREEN-CROSS: Thank you.
 9                    THE COURT: If that                    fact     is    true,      I am focused              very
10           much on the              appearance          of the     District         Attorney.            Using
11           that     title         District        Attorney        Fani Willis,           invites         you and
12           encourages             you to come to this                 fundraiser         for     the
13           political         opponent            of the      target      of my investigation.
14           That's      what we need to navigate                         here,      and I guess           the
15           question         is,      if    there's       an actual        conflict,         is
16           disqualification                  mandatory        or discretionary,                 and if        it's
17           mandatory         then         does that       mean that          the    appearance           of
18           conflict         still         give    the    judge     the    discretion            to fashion
19           some form of relief?
20                    ATTORNEYGREEN-CROSS: Let me start                                   with     the     last
21           question.              No.
22                    THE COURT: No?
23                    ATTORNEYGREEN-CROSS: I don't                                think    the Court            has
24           the    discretion              law.       While I want to give                the     Court        as
25           much discretion                 as you want to have - -
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 1                     THE COURT:                    Only         what        it     should             have.

 2                     ATTORNEY GREEN-CROSS:                                       Yes.         I don't             think          the     law

 3           allows         the         Court         to     elevate               the        standard,             what      the         legal

 4           standard             is     an actual                conflict.                    I don't             believe          that        the

 5           Court's            discretion                 is     broad            enough         to      force           a remedy             for

 6           an appearance                     of     conflict.

 7                     THE COURT:                    And examples                    of        actual          conflict             that        I

 8           saw in         your         pleading                were        somehow            the      prosecutor                 was able

 9           to be like                 a defense                attorney                at    the      same --             I mean it                was

10           these        things              where        like         what        were        you thinking?                       Yes,        it

11           was kind             of crazy.                      I represent                   one      co defendant                     and    as

12           the     defense              attorney               in     a criminal                proceeding                 become            the

13           DA and         the         prosecute                the        co defendant.

14                     THE COURT:                     okay.

15                     ATTORNEY GREEN-CROSS:                                       That        makes         no sense,              and        that

16           is    not      the         situation                we've        got         here,         but        that      is     the        kind

17           of    extreme              example            of what            the         law recognizes                     as an actual

18           conflict             for         a prosecuting                   attorney,                 at     one time             I

19           represented                  the       victim             in    a case            that       is       now before              me in

20           a divorce             preceding                 who is           now before                  me in           a case.

21                       It's          that     kind            of really                striking             in    your          face     and

22           routine            political              support               for         a political                ally.           It     just

23           doesn't            make it             there.              It    doesn't                go that          far.

24                      THE COURT:                    The routine                   --        I would          interpret                 as Mr.

25           Wade strokes                     a check            for        the     candidate                 he wants             to
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 1           support.            Using            the     title         of your office                   and having           a
 2           social       media        that             you as this             political            office          holder       are
 3           holding          a fundraiser                 for      the       opponent            of someone that                 this
 4           political           office            is     investigating.                    I don't             know that         it's
 5           an actual           conflict,                but      I use that            phrase,            "what      were you
 6           thinking,"           where            the     prosecutor              thought              I could       prosecute
 7           the    codefendant                   of someone I defended.
 8                     It's      a what are                you thinking                 moment?             The optics            are
 9           horrific.            If    you are              trying           to have the                public       believe
10           that     this       is    a non-partition                        -driven       by the          facts,      and I'm
11           not    here       to critique                 decisions.               The decision                  was made,
12           but    If we are           trying             to maintain              confidence               that      this
13           investigation              is pursuing                     facts      in a non-partisan                     sense,
14           no matter           who the            District             Attorney           is,      we follow          the
15           evidence          where         it     goes and ignore                     that       fact      that      I hosted
16           a fundraiser              for         the     political             opponent            of someone I just
17           named a target.
18                    That       strikes            me as problematic.                            Maybe not           from an
19           actual       conflict            level,              but    if     we are           at a cocktail              party
20           and people           are        asking          do you think                that        this       is    a fair        and
21           balanced          approach             to things,                I do.         Well,         how do you
22           explain          this?
23                    I mean,          how does              one explain?                   I mean,          that      is     the
24           concern          I'm working                 through         is     that       it     is     not     a lowercase
25           A appearance,              it         is     a capital             A with           flashy      lights
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 1           fundraiser           District            Attorney        for      the political                opponent             of
 2           someone I've               named a target              of my investigation,                           while       I'm
 3           a legal       adviser             of the Grand Jury,                   and I'm on national
 4           medial      almost           nightly        talking        about        this        investigation
 5           and       That's      problematic.
 6                     ATTORNEYGREEN-CROSS: Okay.                                   Not accepting                  the
 7           entirety       of the Court's                     characterization                  of the         series         of
 8           events.            I'm going            to explain         it     in a couple               of ways.
 9           First,      it's          still     not a legal            conflict.                It's      still         not
10           anything       within             the    Court's       discretion              to remedy in the
11           way that       Mr. Dillon                has advocated              on behalf              of Senator
12           Jones.        As a legal                matter,       everybody          can talk             at cocktail
13           parties       all         they     want and watch                the    cable        news station                 of
14           their      choosing,              but no matter            what it          still          doesn't          amount
15           to a legal           conflict            under      Georgia         law.
16                     Second,          I want to direct                the Court's               attention              to the
17           absolute           lack      of any evidence               to the        case        that      any action
18           taken      during          the     course         of the        investigation               has been
19           politically           motivated             at all.         As the          Court          made
20           reference,           and maybe I'm paraphrasing,                               but     it's        the      Grand
21           Jury's      duty      to Senator             Jones,        not the          District           Attorney's
22           office.
23                     The District              Attorney          is the        legal       adviser            of the
24           special       purpose             Grand Jury,          and may well                 have an
25           investigation                of their        own, but            Senator        Jones         is      trying        to
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 1           fight          a subpoena         to the           special        purpose            Grand Jury,              and it
 2           was brought              under     their           authority.
 3                     THE COURT: It                  was,       and I think             technically                you are
 4           correct.            I wouldn't            want anyone              to be misled,                    that      the
 5           special          purpose        Grand Jury             is    the        only        -- meaning              those
 6           grand          jurors     are     the     only       source        of subpoenas                 that         they
 7           say to their              legal       adviser,          where is what we'd                          like      to see
 8           next.           That can happen,                   but what can -also                   happen,             and it
 9           doesn't          matter        who it      happened             here      because            your point              is
10           a good one,              but    I don't            want people            leaving            here      thinking
11           oh,     it's       only    the     special           purpose            Grand Jury            that          decides
12           to come in and.                   Equally           so and perhaps                   most of the              time
13           it's      the      District        Attorney's               team that               says,     here's          who we
14           would like              to have come before                     the      special            purpose          Grand
15           Jury     next.
16                     That subpoena               comes through                the Grand Jury                    maybe the
17           wrong statute              under        the        subpoena,          but      it     comes through                  the
18           Grand Jury,             but     the      idea,       motivation,               and the          decision             is
19           from the           District        Attorney's               office.            I don't          know how
20           Senator          Jones'        subpoena          which channel                 from which              it
21           flowed,          I've     got an inkling,                   but    it     doesn't            matter.           Your
22           point       is     a good one.
23                     I don't         know that           it     cures        the     concern            about
24           political           support        for     an opponent                not having              any bearing
25           on how focused                 or not the            special          purpose           Grand Jury             would
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 1           be on the             person              I'm      supportings                 political                  opponent                  before

 2           November          X, whenever                      the      election               is.

 3                    ATTORNEY GREEN-CROSS:                                     I understand,                         and         I didn't

 4           mean to         imply           otherwise                 to     the        public             in my report,                        but        I

 5           certainly             understand                   the      need        to        clarify             that.               The larger

 6           point       being            though,              I think          in       this         posture               is     that,

 7           Senator         Jones           is        still       in       obligation                  to       some action                     taken
 8           during         the      investigation                       that        is        the      Court's              allegation                     of

 9           a political                  motivation,                  and      you just                haven't              seen          it     here.

10           The --         Yes,          sir.

11                    THE COURT:                    Mr.         Dillon          will           get      a chance                  to    say       more,

12           but     part      of his             introductory                     remarks              he emphasized                           a whole

13           lot     then      this          target             letter          arise,               like        there           was some

14           cause       and       effect.                 I am not             familiar                with          the         timeline              and

15           you mentioned                   that         my description                        of events                  may have

16           gotten         some of the                    timeline,               and         I'm      not        anchored                to     any

17           particular              timeline                  other        than         the        correct            one.

18                    Hopefully,                  there           is     only        one        set         of     facts           as to          the

19           timeline.              What was your                        reaction               to      the        way Mr.              Dillon

20           was painting                  --     it      was almost                 a cause                and       effect            timeline
21           that     X happens                  and       as a result                   of X support                       for        Charlie

22           Bailey         then          Y happens,               something                   that         that       in         the      public

23           eye     would         be negative                    to     Senator               Jones.

24                    ATTORNEY GREEN-CROSS:                                     I represent                      to    the         Court,              and

25           I believe             it's          accurate              that        all         of     the        target            letters
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 1           went out at the                 same time.
 2                     THE COURT: Okay.
 3                     ATTORNEYGREEN-CROSS: So it                           was not pegged               to any
 4           event         that     had any relevance              of Lieutenant             Governor's            race
 5           or any other              political         option         was dictated         by the        terms
 6           and the pace              of that         investigation.
 7                     THE COURT: So the                   11 that        Ms. Pearce         and Ms.
 8           Deborrough             received       were issued            on the        same day,        and
 9           effectively             the     same time         as Senator         Jones?
10                     ATTORNEYGREEN-CROSS: Yes.
11                     THE COURT: It               is not Senator               Jones     got his        on a
12           special         day,      and it      was a broadcasted               event,         and then         the
13           other         11 went out?
14                    ATTORNEYGREEN-CROSS: It                            was a routine            issuance         of
15           the     change        of status        as Mr. Wade explained                    in an effort               to
16           be transparent                to everyone           who had been working                   and
17           talking         with      the    State.
18                     The final           point       I think     I kind of want to make is
19           that,         as noted        in the brief,           we have partisan                District
20           Attorneys            and partisan           elections         for    those     offices,            so it
21           should         surprise         exactly       nobody elected              District         Attorney's
22           should         have political              affiliations            with    other      individual
23           within         the    same political              party,      and I think            the    post      case
24           --    I've      got a copy for              the     Court     if    you are        not     familiar
25           with     it     and a copy for Mr. Dillon.
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 1                     THE COURT:                     Is        there         a cite?

 2                     ATTORNEY GREEN-CROSS:                                       It         is.       298 Georgia                     241.              It's

 3           a 2015         decision.                    It's        post,              P-O-S-T.                   I've          got    a copy

 4           that      is       highlighted.                        I'll          hand         Mr.         Dillon           the        same copies

 5           that      have        been            highlighted                    for         the      Court.              May I approach,

 6           please?

 7                     THE COURT:                     Sure.                Thank         You.

 8                     ADA GREEN:                    On page                5 it         is         a reference.                       The case

 9           doesn't            raise         the        issue             of a prosecuting                              attorney             who has

10           been      or       sought             disqualified                    by a defendant                           or      target               or    a

11           subject,            or     a witness                   in      the         case.              It's          an even         higher

12           stand         to    what         a judicial                    recusal                 would          be,      and        I think

13           it's      instructed                   as        a lower             standard              --         I'm      sorry,            a lower

14           burden         and        a higher                 standard                for         a recusal               of Court,                    and

15           in     this        case     it         was the                situation                 where          the          District

16           Attorney            had been                listed             as a campaign                          official             of a

17           Superior            Court             judge's            campaign                 at      one         time,          and       the          Court

18           in     that        case     found                --    well,          that's              beyond             routine,                it's

19           beyond         financial,                   it's        beyond              what          we normally                     expect.

20                     Although               it      even          --      and         so the          Court             concluded,                     You
21           know what,                when you got                        that         allegation                  and          the    affidavit

22           of     recusal            you should                   have          sent          that        on.           I'll         note         too

23           though,            that     once            it        was sent              on,         the          Court          determined

24           that      that        wasn't             an actual                   (unintelligible),                               and       it      went

25           right         back,        so I bring                    the         language                 to      the      Court's
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 1           attention          because             it     does draw a focus                   on these            are    the
 2           things      that         happen         when you have political                           affiliations
 3           for     elected          offices.              It's     expected,           it's        normal,            and
 4           until      or it         shows some actual                      conflict          then        that     is    just
 5           maybe the          upside,             maybe the downside,                    but that's               a
 6           consequence              of the             system     that      we have.
 7                    THE COURT: Okay.
 8                    ATTORNEYGREEN-CROSS: One more final                                              thing,           and I
 9           think      this         could      streamline             some of our other
10           conversations                  about         remedy.           The State          is    not interested
11           in any summer surprises.                               I couldn't           source            that     October
12           deadline          to anything.                  I'm unable           to determine                    when that
13           is.      I don't          believe             we have that           here.             It's      especially
14           unlikely.
15                    THE COURT: My understanding                                 from speaking                    with       the
16           Grand Jury          directly.                  My supervisory               role         is that           the
17           timeline          is whatever                 the     timeline       is.          There        is no
18           deadline,          they         like         to be done with               this        soon,         but    that        is
19           only because              they         are     giving         much of their               life        to this
20           process,          but they'll                 follow      this      process            as it         unfolds,
21           and as I intimated                          to Mr. Dillon           and I'll            make it            clearer
22           when I wrap up the                      disqualification                   session            that     if    the
23           work is       completed                such that          it     lands      on or near                the
24           election,          it     will         state        in the pleading                and be in my
25           office      until         it     gets         disclosed          after      the        election.
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 1                    ATTORNEYGREEN-CROSS: You won't                                          be hearing               any
 2           objection           about         that        from the         State.
 3                    THE COURT: I never                           I heard       any requests                  to the
 4           contrary.               What I heard                is we don't            know when it                   will      end.
 5           When will           it     will         be done,        when we're               done.
 6                    ATTORNEYGREEN-CROSS: I got a passed                                               a note          that's
 7           going       to clear             up that        timeline.            The political                      event       for
 8           Mr. Bailey              was June 14th,                 and the       target             letter          was sent
 9           to Senator              Jones          and the        others      in that          July          5th,      July      6th
10           timeline.
11                    THE COURT: So                        three     weeks later.                All          right.          Mr.
12           Dillon       or Ms. Clapp.                     I'm happy to hear                   what you want to
13           share.        Don't             repeat        what you already                   said      because            I heard
14           that.        I'd         like     you to start                with Ms. Cross's                    focus,          and
15           it   is different.                      I'm very        familiar           with         the      judicial
16           requirements               and the            impact      and affect              of apparent
17           conflicts,              and Ms. Cross's                 observation               is the          District
18           Attorney           is     not a judge.
19                    This       is true,             but because             of that          the      apparent
20           conflict           may be an area                   of concern            that     we ought               to talk
21           about,       but        that      it     would not            require          me to take               any
22           remedial           action,             only    if     there     were an actual                    conflict,
23           and even if               it     was an actual                conflict,           but      I don't
24           disagree           with         you if        you say there               is     an appearance                   of a
25           conflict.               You don't             need to try           to convince                  me of that.
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 1                      If     that's        not enough,              legally,             then    we'll         all     agree
 2           that       there        was an appearance                   of conflict,                hopefully
 3           something              like     that      doesn't         happen          again       between             now and
 4           the      conclusion             of this          electoral           cycle,          but     that         is what I
 5           need you to start                      with      appearance              verses       actual         and
 6           anything              else     we need to cover                   that        you already            didn't.
 7                     ATTORNEYDILLON:                        Your Honor,              if    I may.          My associate
 8           has a power point,                      and we'd           like      to plug          into      the        screen
 9           if      that      is possible             to the Court.
10                     THE COURT: It                   is,     Ms. Clapp              is    a part        of this         zoom
11           session,              and you're          able      to share             your screen.                Is what
12           you're          going         to share          something          you shared              with      Ms. Cross
13           or is          this     brand         new?
14                     ATTORNEYDILLON: We have not                                     shared        this        with     Ms.
15           Cross.
16                     THE COURT: It's                       not evidence?
17                     ATTORNEYDILLON:                        It's     not evidence,                 but we do have
18           some exhibits,                  Your Honor,              we do have some evidence                            here
19           today.
20                     THE COURT: Okay, if                           there      is     going       to be evidence,
21           let's          just     make sure            Ms. Cross            gets        a chance         to see it
22           before          we blast         it     on the          screen.
23                     ATTORNEYDILLON: Absolutely.                                         oh, no.          It won't         be
24           blasted           on the        screen.           It won't          be published                before         --
25                     THE COURT: Okay.
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 1                    ATTORNEYDILLON: As the                                  initial        point,      Your Honor,
 2           I'd     like      to point           out that          Senator             Jones       received         his
 3           Grand Jury             subpoena            in late         May, and he was set                    for
 4           testimony             in late        July.
 5                    We won't             go into        the date             because          we don't       want to
 6           create         a bottle            neck,     but he was assured                        by the     DA's
 7           office         that     he was a witness                    in the            case,     and he was glad
 8           to do his             civic        duty.      We were trying                    to work out the
 9           parameters             for     a voluntary             interview               to avoid         the     reptile
10           marching.              I won't           use that          term.           while       I like     it,         I just
11           won't      use it.
12                    THE COURT: Simple,                        but what you are                     avoiding           is
13           answering             my question.              My question                  was,      appearance            of
14           conflict         verses            actual     conflict,                what do you think                   the       law
15           is,     and where do you think                         this         falls?
16                    ATTORNEYDILLON:                      I think,              based       on my reading                of the
17           law that         controls            in this         area         is    that       when there           is      a
18           public         perception            of a conflict,                    then     there's         an issue
19           that     this         Court        has to look             at,      and the           standard        is     the
20           standard         that         is    layed     out      in the           Young case,             the     Supreme
21           Court      case        that        the     DA cites         in their            response         brief.
22                    THE COURT: Young as in not old?
23                    ATTORNEYDILLON:                      Young as in not old,                         and I don't
24           have the         cite         in front        of me.
25                    THE COURT: I'll                     get     it.
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 1                   ATTORNEYDILLON:                        It's         also     in my brief.
 2                   THE COURT: Lampl.
 3                   ATTORNEYDILLON: Okay.                                 The DA cites                it    for      the
 4           proposition              that,        "The standard                 of neutrality               for
 5           prosecutors              is not necessarily                        astringent           as those
 6           applicable              to judicial           or quasi              --    judicial         offices,"                  and
 7           she is       correct,            direct       quote          from Young.
 8                   It    is not astringent,                           and the        Court        goes on to say
 9           that    the        different           in treatment                 is    relevant         whether               a
10           conflict           is    found,        however,             not to it's               gravity         once
11           identified.               We may require                    a stronger           showing           for       a
12           prosecutor              that     a judge        in order             to conclude               that      a
13           conflict           of interest            exists,            but     once we have drawn that
14           conclusion              we have deemed the prosecutor                                  subject         to
15           influences              that     undermine            confidence               that     a prosecution
16           can be conducted                     in a disinterested                     fashion.
17                   If this           is     the    case      we can not have confidence                                     that       a
18           proceeding              in which the            officer             plays       the     critical             role          of
19           preparing           and presenting                the        case        for    the     defendant's
20           guilt      or hear             the    defendant's             recommendation                   for     a charge.
21                   And so here                  is the     Supreme Court                   saying         that      if          the
22           confidence              is undermined,                if     the     Court       is     saying,          what
23           were you thinking,                     then     the decision                   is already             made,
24           because       if        we have a what were you thinking                                   factor            that
25           even if       they        recommend discharge,                           and even if            they         died,
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 1           and      if        they      go to        trial,               and      even        if     they         win the               case,

 2           which          we submit               will        never          happen,                there         it     has        occurred

 3           in     the         Young        case.

 4                     The bigger                   issue            here      is        not     whether                 or not          they         can

 5           indict             him for           submitting                  a false            document,                 they          determine

 6           the      falsity             of all           the        documents                 in     this         case.             The issue

 7           here          is    whether            or not            they        can       drag         Senator                Jones          down by

 8           literally                 releasing               to     the      press            that         he's         a target.                   This

 9           guy get's                 $32,000         dollars.                   This          guy get's                 a publicly

10           disclose              target           letter.

11                     THE COURT:                    You're             going            a little             bit         off      the         --     the

12           focus          here        is    disqualification,                             and        I'm      not        quite              sure

13           what          you are           invoking                from      the        press          or who you think                             said

14           to     the         press        that       someone               was a target,                     maybe            other              than

15           you or             your      client           talking             to        the     press,             but         that's          not

16           what          your        motion        was about.                      Your motion                    was about                  the

17           decision              the       District                Attorney             made to             support              someone                 in

18           her      political               party            --

19                     ATTORNEY DILLON:                               Yes,        Your Honor.

20                         THE COURT:                --        and how that                     may create,                     and      it         does

21           create             the      appearance                  of possible                  conflict,                but        is       it     an

22           actual             conflict,            and         you are             helping             me process                   that           maybe

23           an appearance                    would            be enough,                 but         that      is        what        I need               us

24           to     focus             on and not               your          theory            that      the        District

25           Attorney's                  office           is        trying          to    affect             someone's                political
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 1           career         as opposed                    to     revelations              about        someones                connection
 2           to    a series                  of     events        that       are      particularly                 controversial
 3           in    our      society                 right        now might            prove         problematic                  for    that
 4           political                 candidate.                  I can't         help       that      part.                 Those     were
 5           choices             that         were        made.          That      might           elevate         that          candidate
 6           in    the      eyes             of     some.         They might              not       elevate          that
 7           candidate                 in     the      eyes       of many.
 8                      ATTORNEY DILLON:                            It     may,       Your         Honor,       and with               regard
 9           to    those          facts,             Senator         Jones         was willing                to     come in            and
10           meet       with           the        prosecutor             and    sit       down and            say        these         are
11           the       facts           of the          case,        under       oath         and maybe             not         under
12           oath,         but         then        they         received        this         carpet          bombing            of target
13           letters             for        everyone             who signed            the         document,             it     is
14           suddenly             16 witnesses                    had the          door       slammed           in       their         face
15           because           they           were        told      that       they       less       friends             of     the
16           investigation                        or targets.
17                      Can we go to                      the     next       slide?           Mr.      Jones         received             his
18           target         letter                on July         6th      as the         DA indicated.                        Contrary
19           to    their          motion             where        they       indicated              he was a potential
20           target,           he was told                     he was What?                  Next      slide.                 "You are
21           advised           that           you are            "A target"            of the          Grand         Jury."             This
22           was on July                    6th.
23                      Next        slide,            please.              On July           the     12th,         six         days
24           after,         I received                    this      target         letter,           and      I will            say     that
25           we consider                    this      to       be highly           confidential,                   and         the     only
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 1           two people           in      the        world       that      knew about                   the     target         letter

 2           were      me and          the      district             Attorney's               office.           I get        this

 3           unsolicited               e-mail          from      a reporter                 with        --

 4                     ATTORNEY GREEN-CROSS:                              I'm     sorry            --

 5                     THE COURT:                   Stop.

 6                     ATTORNEY GREEN-CROSS:                              I'm     sorry.                This        isn't      a

 7           document          that          I've      seen      before,          so before                  we publish             it,

 8           Mr.     Dillon       can          you

 9                     THE COURT:                   Can you take               that         down,        Ms. Clapp             back           to

10           the     preceding            page?             And so,        Mr.         Dillon,           you had            assured

11           me that       --

12                     ATTORNEY DILLON:                        Yes,       I did,            Your        Honor,         and     in my

13           zeal      I got      a little              ahead         of myself.

14                     THE COURT:                   Well,      be less          zealous.                 Represent             your

15           client,       but         let's         not      slap      e-mails             for     which           no foundation

16           has     not   been         laid         upon      the      screen.             I thought               you said,             in

17           fact,      I know you said                       don't       worry,            the     actual           exhibits             I

18           won't      put     on the              screen,          they'll           just        be in my hands                   and

19           they      won't      be published.

20                     ATTORNEY DILLON:                        I had       a carefully                   drafted            script,

21           and     I lost       it      because             we started               in     the       middle         of my

22           argument.            May I approach                      and enter               before           the     Court        with

23           a copy.

24                     THE COURT:                   You may.

25                     ATTORNEY GREEN-CROSS:                              If    it's          a copy           of     Defense
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 1           Exhibit            2 then           again,             there's             no foundation.                        I haven't

 2           seen       it      before.

 3                      THE COURT:                    I'll          take        it.          I won't           necessarily             make

 4           it      a part          of    the        record             --

 5                      ATTORNEY GREEN-CROSS:                                     That         was a part                 of my request.

 6                      THE COURT:                    If     we're            going          to     have       a discussion                 about

 7           it,      I need          to       be able              to      see       it.          Thank       you.

 8                      ATTORNEY DILLON:                             It's         an original                  and        one.

 9                      THE COURT:                    All      right.                 Any way.               Your         representation

10           is      that       you previously                       shared             with        me what              happened         in

11           your       life,         and        in     your         life         a reporter                 out         of the      blue

12           reached            out       to     you and said                     hey,         I heard             that       your    client

13           is      targed          in    the        District                Attorney's                   investigation?

14                      ATTORNEY DILLON:                             Yes,         Your Honor.

15                      THE COURT:                    Well,          the        special              Grand         Jury's

16           investigation.                       Okay.
17                     ATTORNEY DILLON:                              Three            days         later       this         same     reporter
18           broke           the     story,           and we won't                      publish             that         either.          It's
19           not      an exhibit,                 and        it's          on the            internet,               and we believe

20           the      Court          --    we'd         love         to       publish              the      story.
21                      THE COURT:                    You're             free         to     do that,              not      through         the
22           Court's            zoom.
23                     ATTORNEY DILLON:                              Okay.             We'll          hold         off      on that         slide
24           for      now,          but    I will            represent                  to     the       Court           three     days
25           later           this     same reporter                        broke            that      everyone              who signed                on
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 1           the      alternate                    slate         of electors                     and had              received              a target

 2           letter           including                 Senator              Jones.

 3                      THE COURT:                     Assuming                   for        a minute             that         is     exactly             how

 4           that       played           out          with        you and Mr.                        Isokoff               (sp.)      where            does

 5           that       get      us actual                    conflict,                  apparent                conflict             --     I

 6           understand                where            your          client             is      very        frustrated                by that.

 7           You suggest                     that,           gosh,          the         only         two people                on the            planet

 8           who should                 know about                    it     would             be the            District             Attorney

 9           and you.

10                      Certainly,                    it's        a whole                lot         more        than        that.           We know

11           the      District                Attorney                alone             didn't,             in      fact,          write         all

12           these       letters                   by herself.                     In fact,                 she       didn't          sign        the

13           letters.                 It's           on the           screen             right          now.            Mr. Wade did,                     so

14           the      universe                has       just          grown             by 50%.              It's           three      people.

15                      ATTORNEY DILLON:                               Right.

16                      THE COURT:                         So somehow                   --     let      me finish.                    Somehow

17           word       got      out              and the         reporting                    universe               knows          about        it

18           now,       and      it          flows           as an unwelcomed                           development                   for        your

19           client.             Actual               conflict,                   appearance                 for        conflict.                  I need

20           you to           bend           it      back        to        what         I need          to       work         through,            which

21           is     should            I take               any    remedial                   action          to       address              an actual

22           conflict            or          the      appearance                   of         conflict,               if      I have         the

23           authority,                 that's               what          we're         working             through                and not            the

24           trials           and tribulations                              of     Senator              Jones           because             there         was

25           a leak.             Unless               you've               got     proof             that        it     was Charlie
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 1           Bailey       who leaked                 it,         and then               now we have

 2                     ATTORNEY DILLON:                            Yes,         Your          Honor.

 3                     THE COURT:                   But we don't                       have        that          here.

 4                     ATTORNEY DILLON:                            I do not                  have        that.           No indication

 5           that      Mr. Bailey              was involved.                            All            I know is          that           this
 6           organization               knew and                 I knew,               and of            course          my client

 7           knew,      and then              six         days      later              this        internet              reporter
 8           knows,       and then             shortly              after              that        there's              an AJC story

 9           about      it.       If      we could                 I'd         like          to    publish              Exhibit            3,
10           which      is      a flyer             for     it.

11                     THE COURT:                That's             in         your          pleading.
12                     ATTORNEY DILLON:                            It     is.
13                     THE COURT:                You may --                     it's          already              public           record.
14           Let      me make sure                  the     State              can      look            at   it,         but        if     it's          in
15           the      pleading          --
16                     ATTORNEY GREEN-CROSS:                                    If      it        is     what's          in        the
17           pleading           then      we don't                 have         an objection                       to    the
18           authenticity               of     it.
19                     THE COURT:                Okay.
20                     ATTORNEY DILLON:                           May I approach,                            Your        Honor.
21                     THE COURT:                   I've      got         it     on my screen.                           So we have
22           this      fundraiser,               and        it's         a blockbuster                           headlining                Fani
23           Willis       the     District                 Attorney.                    In fine              print        you can                 see
24           where      Mr. Bailey               is,        in      fact,              a candidate                  there,           the          font
25           is     so small           that      I have             to         squint             to     see       what       it     says.
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 1           This     occurs        about     three          weeks before                  the     decision           is made
 2           to make my client                target           in this             case.
 3                    The District            Attorney,                according               to publicly
 4           available          records,         which           I have marked                  as Exhibit            4.        This
 5           particular            document,         Your Honor is                      from the public
 6           campaign        finance         website           here         in Georgia,              so this          is
 7           publicly        available             data.          It    shows during                 the     day of and
 8           during       the      day after          this        fundraiser               $32,000          made to the
 9           office       of Mr. Bailey.                   We submit               is    a direct           result         of
10           this     fundraiser.             I'm told             that           the    custom       is,      often
11           people        show up with             a check            or they           give      their       regrets           and
12           sent     a check        the     next         day.         During           this      particular
13           month, Mr. Bailey               raised           over      $270,000               dollars·.
14                    THE COURT: So this                       was a particularly                          small
15           fundraiser            for    him?
16                    ATTORNEYDILLON:                      This might               have been a particularly
17           big    one.        This might            have been the                     one that           caused      the
18           avalanche          of checks           to come in.
19                    THE COURT: Could be for                               all     those         people       who are
20           checking        the     ethics         website            to see what the                     cash      flow
21           looking        like      for    the      first        couple           of weeks were,                   so I'll
22           put my money behind                    it.
23                    ATTORNEYDILLON:                      This        is    the        sort      of headline
24           fundraiser            that     gets      people           to say,           oh, we have a big
25           wheel.         We have somebody who is                               on the        nightly        news,        as
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 1           this       Court          knows,          who is          pulling            for        Charlie            Bailey.

 2                      THE COURT:                   Okay.

 3                      ATTORNEY DILLON:                          One candidate                      in     the      Lieutenant

 4           Governor's                office          or the          Lieutenant                Governor's                   race      gets        a
 5           headliner,                the      other          one,        three         weeks         later           gets         a target

 6           letter        --     quietly              get's          a target            letter.               Now, there                   were

 7           numerous            news         stories           speculating                    about        the        existence              of

 8           target        letters              on or about                 the         time     of the           Yahoo             news

 9           article,            and        there       was a lot               of buzz              about        that.

10                      In fact,              there       was even              an AJC story                    where          DA Wilis

11           was quoted                as     saying           that        numerous             attorneys               had         received
12           target        letters              on their              behalf.             It     didn't           name Senator
13           Jones,        fortunately.                        In fact,            it     wasn't            publicly                known

14           that       Senator             Jones       received              a target               letter          until           the      DA

15           filed       their          brief          two days             ago.

16                      They were               the     first          people            to     acknowledge                   he was a
17           target        for         this         Grand       Jury.           We had           never          acknowledged
18           that.         It     was a mere                   speculation                in     the        press,            but     it's
19           that       sort      of thing              that          gives        the         DA the          the      ability              to
20           benefit           their          friends           and harm                somebody            who is            under
21           investigation,                     and that              is    really            what        we're         talking
22           about.
23                      The cases               that      the         DA's      point           to     in      their          motion          from
24           1916       and      1936         are      talking             about         transactions                   where         the
25           financial            transactions                   were         $150,            and was that                   materially,
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 1           and while                those           are        interesting                  cases,           but        once        that         $150

 2           was material                   in        the        depression,                  we were           talking               about

 3           $30,000             and we're               talking              about           swaying           an election,                       a

 4           statewide                election               in     Georgia,                 and     that's           a significant

 5           thing.

 6                     This           is    not         something               that          is     being        done           by accident.

 7           This       is       being          done         by design.                      This       fundraiser                was pointed

 8           at     benefiting                  Senator             Jones

 9                     THE COURT:                       Isn't          that        the        purpose           of        the     fundraiser.

10           I agree             --      the         point        of --         the          question           is        does        the

11           District              Attorney              decision               to       support           someone               with        whom

12           she      is        politically                  aligned,              it        surprises               no one           that         they

13           are      politically                     aligned.                Does that                 rise         to    the        level            of

14           creating              --      an appearance                      of        --    , and        I've           opined            on that

15           a little              bit      an actual                  conflict,                  and    I understand                    because

16           you can't                climb           into        someone's                  mind.

17                      You have                to      do a little                     of this          through                the

18           shadowboxing                      of,      okay        --    there              is     a fundraiser                  and        all        of

19           this      money             came in,                and     then            there          was a target                    letter.

20           Do you have                   more         of       a connection                      of one who proceeded                                the

21           other?

22                      ATTORNEY DILLON:                               As far            as a direct                  connection?

23                      THE COURT:                      Any connection.

24                      ATTORNEY DILLON:                               What is               out     there           in    the        press,

25           what          is    out       there            in    the     ether.                  A part        of Senator                   Jones'
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 1           concern         is      that      this       report     is going           to come out in
 2           October.             I'm glad            to hear       there's          no October             surprise,
 3           but      there's          been this           whole     series          of drips,           this      whole
 4           series         of leaks           out of the           Fulton      County             DA's office           that
 5           have tilted               benefit         towards       Mr. Bailey.                    It   pointed         to my
 6           client         as being           a presumptive            violator             of the         law,       and
 7           it's      only       because           the    DA has the          authority             to do that.
 8                     So if         this      Court       were to determine                  that       she has a
 9           conflict,            and this            appearance        is     sufficient,               and we go to
10           the Attorney               General's           office      to appoint                 a new prosecutor
11           with      regard          to Senator           Jones     who could              sit     down with           him
12           and say,           Well,        Senator        Jones,      we're         interested             in what
13           happened           in December 2020,                   would you like                  to talk        to us,
14           and just           like        we did        on day one,          with         the     DA's office?
15                     Certainly,              we would be glad                to.          Do we have a target
16           letter         from your office?                      No, you do not,                  Senator        Jones,
17           because         we have useful                 information              that     would age your
18           investigation,                  because        this     is an investigation                        when it
19           was impaneled                  that      was supposed            to gather             evidence           to see
20           whether         or not          there        was an effort              to undermine               democracy
21           in this         country,              and when Senator             Jones         said,         I have a
22           subpoena           here,        I'm going         to talk         to these             people       we said,
23           fine.          We prepared               our rates,        but     then         we've       got     this
24           target         letter          and then        everything          changed,             just       like     it
25           did      for    these          11 clients.
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 1                     So then       where      initially           they      indicated            where        they
 2           wanted      to gather            evidence,        now it        appears             that    what they
 3           really      wanted         to do is gather              publicity,              and they           slammed
 4           the     door      on all        16 witnesses           who signed           the        document          by
 5           giving      them target            letters,          and then           they        announced         that
 6           they're        all     bad people,            and in essence               they're           going        to
 7           recommend their                 charges       in this         report,          if    and when it
 8           comes to you desk.
 9                     THE COURT: So the                   DA's office           doesn't            write       the
10           report,        the     Grand Jury         does,        just      to repeat.                You
11           mentioned            something       about      the      District         Attorney's               office
12           leaking        this     and leaking            that.          Supposition              or evidence?
13                     ATTORNEYDILLON:                 I certainly             don't         know that            the
14           District          Attorney's         office       talked         to Yahoo News, but                       I
15           know that            I was the       only      other      person         holding            a copy of
16           that      target       letter       on that       day,        and there             are    numerous
17           daily      stories         in the     AJC, to quote               learned            sources         from
18           inside      the       investigation            are     the     people          who are         conducting
19           this      special       Grand Jury.
20                     THE COURT: I'm focused                       on your          client,            and I'm
21           asking       you to direct            me to anything                other           than     the
22           gentleman            from Yahoo who said,                 I heard          X about           your     client
23           being      a target.            has there       been other              outreach            from the
24           media      to you saying,             I heard          Y, I heard              Z about         Senator
25           Jones      that       you can source            only      to the         District            Attorney's
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 1           office      as opposed            to,     hey,    any witness              who comes before
 2           that      Grand Jury        is     free        to talk     to the media               afterwards               if
 3           he or she wants             to.
 4                    ATTORNEYDILLON:                   That's        absolutely            correct,         and as
 5           you know, that's               how the          Grand Jury           work.
 6                     THE COURT: Right.
 7                    ATTORNEYDILLON:                   You're        supposed          to operate           in
 8           secrecy,      which        is what was anticipated                         when this        was
 9           founded,      but the          witnesses          are     free       to go talk,           and some
10           of the witnesses               probably          do talk,           but    certainly        Senator
11           Jones      had an interest                in the public              not     knowing that
12           Fulton      County      considered              him a target,              so he did not talk;
13           we know that.
14                     The leak      of the           existence        of this          target      letter         and
15           subpoena      actually,            violate        the     the       (unintelligible)                 of
16           ethics      that     the    District            Attorney         operates        under,         and one
17           of the      things      that       we have with            regard          to Exhibit           5 is       the
18           ethics      training        that         the    DA's office           gives      from their
19           general      counsel,          Mr. Robert            Smith,         who is      the    general
20           counsel      for     the    Prosecuting              Attorney's            Counsel        of Georgia,
21           and with      permission                of the Court          I'd     like      to mark this               as
22           Exhibit      5.
23                    ATTORNEYGREEN-CROSS: No objection,                                     Your Honor.
24                    ATTORNEYDILLON:                   I think        the       District        Attorney
25           offered      me an affidavit                   from Mr. Smith earlier                     today,          so I
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 1           think       they        rely      on him as an expert                                    in    regard          to        ethics.

 2                     THE COURT:                  Okay.

 3                     ATTORNEY DILLON:                           And so at                    this        time     I would                  offer

 4           Exhibit          5 into         evidence              and          request               to    publish             it.

 5                     THE COURT:                  Sure.

 6                     ATTORNEY GREEN-CROSS:                                    Your           Honor,        I don't              object              to

 7           the     submission              of         the     document                  --    I can't            verify             it's

 8           authenticity.                   If        Mr.      Dillon              is     representing                   to      the         Court

 9           the     source          of     this         information,                      where           he got         it,         that         it's

10           accurate,           true,         and            complete,              and that's                   probably                 going          to

11           take      care      of my objection.                               I just            can't           look      at        it      and

12           know that           this        is         the     presentation                      that       Mr.         Smith             gave.

13                     THE COURT:                  Right.               It's         too        long        for     you to                 do that,

14           just      in     this        setting.                Any reason                    we should                be concerned

15           that      this      has        been         altered               in    any way,               or     is     anything

16           other       that        what      Mr.            Smith      presented                    to    this         District

17           Attorney,           but        presumably                  all         District               Attorneys              and their

18           processes?

19                     ATTORNEY DILLON:                           My understanding                            is     that         this          is

20           his     presentation                      and he does                  it     periodically                   and         that           he

21           would       have        done         it     during           the            time     period           that         Ms. Willis

22           was the          District             Attorney               here.

23                     THE COURT:                      Okay.

24                     ATTORNEY GREEN-CROSS:                                    Can I ask                  for     a representation

25           of where           you obtained                     this          copy?
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 1                    ATTORNEYDILLON: This was pulled                             off         of the
 2           internet.
 3                    ATTORNEYGREEN-CROSS: Did you pull                                 it          from off         of
 4           the     internet?
 5                    ATTORNEYDILLON: Yes,                   I did.
 6                    ATTORNEYGREEN-CROSS: Okay.                         Was it              from the           PAC
 7           website?
 8                    ATTORNEYDILLON: You have to have access                                           to the         PAC
 9           website        to get        it.
10                    ATTORNEYGREEN-CROSS: And I'm wondering                                          how you got
11           it.
12                    ATTORNEYDILLON:                It's    out there           in the              ethers.
13                    THE COURT: He got it                  from Yahoo.
14                    ATTORNEYDILLON:                I got it        from Yahoo.
15                    ATTORNEYGREEN-CROSS: I want to kind of thank                                               you
16           for     your candor.
17                    ATTORNEYDILLON: Would you like                             to present               it     to
18           your client?                She would have attended                 this         training,              and
19           see if        it's      complete?
20                    ATTORNEYGREEN-CROSS: I would like                                 to preserve
21           publication             of the      document   until       I can ascertain                        whether
22           it     is true,         accurate,      and complete,         because                   I understand
23           that     it    has been sourced            to the       internet,               and that           is     not
24           something            that    I can accept,       this      authentication.
25                    THE COURT: Okay, so it's                   admitted.                   I'll      take      it,
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 1           just         don't      put        it      on the           screen.                  I want       us to             keep    moving

 2           forward.

 3                     ATTORNEY DILLON:                             Okay.            We won't               put      it      on the
 4           screen,          but        it     does         quote         the       rules          of professional

 5           responsibility                     in      Georgia,               and     so,         I think           those          rules           are

 6           relevant             here,         and the             fact        that         the         District            Attorney's

 7           members          and        the         District            Attorney             herself               receives
 8           training             on this             on and gets                 reminded                on a periodic                  basis

 9           of what          their            responsibilities                        are         for      the      prosecutors                    is

10           relevant.

11                        THE COURT:                  Okay.          So are            you going               to     be reminding

12           her     now by reading                        it?
13                     ATTORNEY DILLON:                             I would            love         to      just          read      a few

14           snippets,             if         I may,         Your Honor.

15                     THE COURT:                     If     they        are      truly            snippets.

16                     ATTORNEY DILLON:                             "The        DA and Assistant                           DA's      should

17           refrain          from        making             extra         judicial                comments               that      have        a

18           substantial                 likelihood                 of     heightening                    public           condemnation

19           of the          accused."                  That        is     rule        3.8.

20                     THE COURT:                     This        relates            to      your         theory           that      there
21           was a leak              that         wasn't            necessary                --     one,       we don't              know

22           there         was a leak.                     Two, the             District             Attorney                herself            who

23           is     the      focus        of your                concern          because             of     the      political

24           support          she        has         from        someone          with        whom she               is      politically

25           aligned,             that         she      somehow            has       been         behind           the       leak       that,             I
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 1           guess      would have been behind                           the     leak     that        your client              is
 2           a target,          but there          is no evidence                      of that.
 3                     ATTORNEYDILLON:                   There           was no evidence                that       my
 4           client      was a client              was a target                  until      two days            ago when
 5           they      said     it    in their        reply         brief,          Your Honor.
 6                     THE COURT: Okay.
 7                     ATTORNEYDILLON: And that                                 was not inadvertent.                       That
 8           came directly             from the mouth of the                            District        Attorney's
 9           office,          and so we're          not talking                  merely      about         this     runoff.
10           We're      talking        about       the     fact          that     it     is publicly              confirmed
11           that      Senator        Jones       is a target                  of this      Grand Jury.
12                     THE COURT: Okay.
13                     ATTORNEYDILLON:                   Irrefutably.
14                     THE COURT: So your focus                                is not on a theory                  that
15           would have got out but the                            confirmation,                 if    you will,           in
16           Ms. Cross's             response       to your response                      in your motion                  to
17           disqualify?
18                     ATTORNEYDILLON: Yes,                         Your Honor.
19                     THE COURT: Okay.                    I'll          let     her talk          about       that.
20                     ATTORNEYDILLON:                   Yes,       I understand.                     That brings              us
21           to the      juncture          that     you pointed                  out where we began,                      which
22           is     on one side,           we have this                  headliner          and they           raised
23           $32,000,          and on the          other          side         we have this            target       letter
24           that      they     publicly          disclosed,              and we have these                    series          of
25           leaks      to the press,              and this              is an effort              to sway the
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 1           outcome         of the         election             for        Lieutenant                Governor                 in      this

 2           case.         It    really          has       nothing           to     do with             whether                or not

 3           they       ultimately            indict            Senator            Jones        or      the        other            group          of

 4           11,      or anybody            in     this         case,        because            once          the        publicity

 5           machine         has     done        it's         business,             the        friends             of      the

 6           District           Attorney           have         won,        and      so that            is        really            why

 7           we're       here,        and     so you ask,                   is     there         a real             conflict              here?

 8           It     couldn't         be more.

 9                      THE COURT:               Okay.           Short            of disqualification,                                 what        do

10           you view           as a remedy?                    If     I conclude                that         something                 needs

11           to     be done,          and     I have            the     authority                to     do it,             but         I don't

12           think       that      it's       practical                or    appropriate                 to          say        that      the

13           entire        District           Attorney               apparatus             for        Fulton             County           has

14           to     unplug       from       any         investigation,                    questioning                    of,

15           exploration              of    your         client's            connection                 to        the

16           interference                 of the         2020         general           election.

17                      What do you see                    as an intermediate                           --        one would               be

18           for      me to      say       there         is     an apparent                conflict,                  but        I can't

19           do anything              about        that,         because             I can        only            handle            actual

20           conflicts.              Another             would         be to         say       either             it's          an actual

21           conflict,           and       I'm     going         to      so something,                       or      I'm        going         to

22           go out        on a limb             and do something                         even        though             it's          only        an

23           apparent           conflict.

24                      So if      I'm      going          to    do something,                    but         it's          not

25           disqualify            the      whole          office,               what     is     your         second             most
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 1           preferable          outcome?
 2                    ATTORNEYDILLON: Well,                         as the        Court      is aware,          there
 3           are     not numerous          special       Grand Juries               of this       magnitude             to
 4           point      to for        precedent,       so what we suggest                     in our brief              is
 5           that     the     statutory          provision           that      requires,         once there's
 6           a conflict         made apparent,               that      it    be referred              to Attorney
 7           General        Carr's      office       and he find             someone to conduct                  that
 8           portion        of that       here     independent              of this         special      Grand
 9           Jury,      and it        can be as simple               as finding             a District
10           Attorney         that     doesn't       have to find              a good solid             democratic
11           District         Attorney       somewhere         who doesn't             have a conflict
12           and give         him the      authority          to pursue            Senator       Jones'         issue
13           in this,         and we would be glad                   to sit        down with           him.
14                   We would be glad                to sit         down with         you.       We would be
15           glad     to approach          this     with      the     same willingness                  to say
16           let's      get    to the      bottom      of this          issue       and whether            or not
17           there      was a conspiracy              to undermine                democracy           in this
18           country        because       that     is an important                 issue,       and let's         put
19           the media         circus      behind      us.          So let's        answer       the     questions
20           and forget          it    affecting       this         election        for      Lieutenant
21           Governor,         because      there's          no way she can keep a hand in
22           it.
23                   THE COURT: She being                     the     District         Attorney?
24                   ATTORNEYDILLON:                  She being             the    District       Attorney.
25           Forgive        me, Your Honor,            and not          affect        the     outcome         of this
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 1           election              for        Lieutenant             Governor.

 2                     THE COURT:                      So if     Attorney              General               Carr        selected

 3           fictional              District             Attorney             X who had                also         given         $2,000               to

 4           Charlie         Bailey's                  campaign          for        Lieutenant                 Governor            --

 5                     ATTORNEY DILLON:                          It      would         not       be a problem                     at     all.

 6           It's      an ordinary                     contribution,                  and      it's          exactly          what

 7           counsel         points              to.         Now, if           they        had        hosted         a fundraiser

 8           during         the          time     period         that          they        were         investigating

 9           Senator         Jones,              I might         have          to     go to           that        judge       and talk

10           about       that            fundraiser.

11                     THE COURT:                      What     if     that         District             Attorney             had

12           already         hosted              --     the     District              Attorney               is     not     involved                   in

13           that      investigation.                          She hosted              a fundraiser                      two weeks

14           ago,      $50 grand                 or even         more         money          than        DA Willis,                but          it's

15           done.          It's          over         and     done      with,         and       I'm         not     going         to      do

16           anymore         fundraisers                      from     here         on out,            because             now I've

17           been      tasked             with         seeing        what        connection,                   if    any,         Senator

18           Jones       had        to        what      was going              on in         November               and     December.

19                     ATTORNEY DILLON:                          If      every            District             Attorney            in      the

20           whole       state            had hosted             a fundraiser                     for        Mr.     Bailey             then

21           that      issue         might             be apparent,                 but      I suspect,                   giving         the

22           list      of    good             democratic              District             Attorneys                in     this         state

23           that      we can             find         somebody          who doesn't                    have        a conflict                  and

24           hasn't         hosted              a fundraiser               for        either            one,        because

25           certainly,                  if     somebody         that          hosted          a fundraiser                   for
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 1           Senator           Jones,            the        Attorney             General                   shouldn't              nominate

 2           that      person               either.            Find            somebody               who doesn't                  have           a dog
 3           in     the     hunt.              Fani         Willis             has      a dog in                  this      hunt.

 4                     THE COURT:                     Got it.                  Thank          you,          sir.

 5                     ATTORNEY DILLON:                             Thank            you,            Your         Honor.           Oh,         can           we

 6           offer        into         evidence              Exhibits                now.

 7                     ATTORNEY GREEN-CROSS:                                     Actually,                    I was going                    to        ask

 8           to     leave        it     up.

 9                     THE COURT:                     Leave          it        up?           Okay,          don't          take        it     down?

10           Too late.                 Thank          you,         Ms. Clapp.

11                     ATTORNEY DILLON:                             Can we offer                       into          evidence                1-5?

12                     THE COURT:                      If    there's             no objection,                           1-5.          Was 5 the
13           one where                the      province             was the                  internet?

14                     ATTORNEY GREEN-CROSS:                                     Yes.                I was going                  to        object               to
15           the      authenticity.                         I believe                the        foundation                  has        been            shown
16           for     Exhibit            NO. 5,              we entered                  it      into         evidence              so I didn't
17           object         to    the          Court         reviewing                  it,          but      I do object                    to        it
18           being        tendered              and admitted.
19                     THE COURT:                     Why don't                 we do this?                        I will          take           1-5,
20           and then            I will             give      Mr.          Dillon             to maybe               shore         up his
21           sourcing            of     it,         and      if,          in    fact,           it     is         pretty          clear           that
22           Smith        was the              name of --                  Mr.       Smith's                presentation                     then
23           I'll      add to           5 the           other             4.     I'll          hold          on to          it,        but        it
24           won't        become             part       of the             record             until          either             Ms. Cross                    you
25           agree        to     talk          to Mr.          Dillon            a little                   bit      more         and we see
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 1           the     source,          or we're          substituting             to you --          someone can
 2           get     it     off     the      PACK site.
 3                    ATTORNEYGREEN-CROSS: I do want to raise                                             objections
 4           to some of the                  others,        but    if     they're        being      tendered             now
 5           into     evidence,              Exihibit         1, the       letter,            I don't     have any
 6           objection            to that.
 7                    THE COURT: Okay,                       1 is admitted.
 8                    ATTORNEYGREEN-CROSS: Exhibit                                   No. 2 is the               e-mail
 9           that         I do have an objection                    to that          being       tendered          and
10           accepted          into       evidence          without        any providence                of it.            I do
11           also     object          to the        relevance           of it.        There's           nothing          in
12           this     e-mail          that     sources         any information                  to the      District
13           Attorney's             office         insofar        as this        being         offered      to show
14           that     the      leaks         are    coming from this                 side       of the table.                   I
15           object         to the        relevance           of that,        and I don't               think      it
16           shows that,              and I object             to the       admission            of it      into
17           evidence.
18                    THE COURT: Okay.
19                    ATTORNEYGREEN-CROSS:. No. 3 is                                  the       fundraiser              flyer
20           that         is up on the             screen      now, and we don't                   have any
21           objection            to that          being      tendered        and admitted               into
22           evidence.              Exhibit         No. 4.         Again,        I have an objection                       to
23           the     relevance            of this.            I don't        think       it     shows what,              at
24           least         what's      been argued.                It's     been      identified            and
25           offered         for      the purpose             of establishing                  how much money was
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 1           raised        at the         fundraiser,          but what the                actual       document           is
 2           or appears            to be,         based     on Mr. Dillon's                 representation,
 3           and I don't             have any reason              to doubt           it.
 4                    This        is publicly            available        about        how much money was
 5           donated           to mr. Bailey             campaign       during         a 2-day          period        in
 6           this     document            to the     fundraiser,             and while             w    I don't
 7           think        that     is     going,     and because             of that          I don't         think
 8           that     we have an objection                     to the        ruling.
 9                    THE COURT: Okay, and then                           5 is       being         conditionally
10           admitted,            provisionally             admitted.            I'm assuming                you can
11           clear        up the         source.
12                    ATTORNEYGREEN-CROSS: Yes,                              sir.
13                    THE COURT: All                 right.          Anything          you want to add,                    Mr.
14           Dillon?
15                    ATTORNEYDILLON: No, Your Honor.
16                    THE COURT: All                 right.          I will         admit         Exhibits        1 and
17           3, and then             5 will        be provisionally                 admitted.             We'll       see
18           if     the    loose         ends can be tied              up there.              Last      question,
19           Mr. Dillon,             and I'll        let      you sit        down.          Beyond the Young
20           case,        is     there     a case        or are      there       cases        you want me to
21           look     at that            stand     for     the proposition                 that     the      appearance
22           of a conflict                could     be sufficient             for      a Judge          to take        any
23           of the        forms         of remedial          action      that       you are           seeking?
24                    ATTORNEYDILLON:                      Your Honor,           I rely           on the      Davenport
25           case,        and that         is a Georgia           case.
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 1                     THE COURT:               I don't           see         it         in     here.              You're                   free       to

 2           rely      on it.           It     didn't         manage               to make it's                         way into                   your

 3           motion.

 4                     ATTORNEY GREEN-CROSS:                              It        was in mine.                                  It's          on page

 5           4.

 6                     THE COURT:               You guys               share             very         well         when it                      comes        to

 7           cases.

 8                     ATTORNEY GREEN-CROSS:                             The Cite                     is         170 --                  I'm'      sorry,

 9           it's      157 Georgia              Appeals           704,             if        that's              the         case           you're

10           referring           to.

11                     THE COURT:               Okay.           Do you agree,                          Ms. Cross,                           that        that

12           discusses           the         Davenport          actual              vs.         apparent                     conflicts.

13                     ATTORNEY GREEN-CROSS:                              I didn't                    cite             it         for       that

14           proposition,               and      that's         not      my recollection                                     of discussion

15           in     the     case.

16                     THE COURT:               Okay.           I'll           look           at      it         anyway.

17                     ATTORNEY GREEN-CROSS:                              Yes,               but      don't                 --      yes.

18                     ATTORNEY DILLON:                       Your        Honor,                   I never                  did          get     clarity

19           on the         basis       for      the      objection                     to    Exhibit                  2,         other          than

20           she      objected          to     it.

21                     THE COURT:                Relevance              was one,                    and          I think                  it     was

22           foundation,               although,           the         recipient,                     Mr.         Dillon,                      I think

23           he could          authenticate                it     as      receiving                        it,         but          I'm         not     sure

24           the      relevance              you suppose               that             Mr.        Isokoff(sp.)                           theorized

25           what         he did       because          the      District                    Attorney's                          office          let      him
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 1           know about                it,     as opposed                    to         the          witness             from           the        Grand
 2           Jury      or the            grand            juror.

 3                     I don't               know who's                 in        the          circle             of discussing                       who is
 4           going         to    be a target                     or not,                but          you've            made your                   point.
 5           I'm     just        not         going         to make it                     part             of the             record.
 6                     ATTORNEY DILLON:                            Okay,                and with                  regard               to     Exhibit           4,
 7           the     financial                fundraising                    report.                       We offer               that         as to        Mr.
 8           Bailey's            take         over         the     two days,                         the         day     of the               fundraiser
 9           and     the        day      after,            and we submit                             that         it     is       relevant.
10                     THE COURT:                    Okay.              I thought                     it         showed           his         take      for
11           the     whole         month.
12                     ATTORNEY DILLON:                            No,        no,              no,         no.         It's            just        a 2-day
13           period.
14                     THE COURT:                    It      is    before                 and after                    the        14th?
15                     ATTORNEY DILLON:                            It        is         the          day of            the        14th         and      the
16           day     after.
17                     THE COURT:                    And it         is        publicly                      available?
18                     ATTORNEY DILLON:                            Yes,            it          is,      Your Honor.
19                     THE COURT:                    All      right.                    I'll          admit            it.
20                     ATTORNEY DILLON:                            That            was Exhibit                         4.
21                     THE COURT:                    Yes.
22                     ATTORNEY DILLON:                            May I offer                          a copy               to    the         Court;
23           I'm     not        sure         I did         that,         Your Honor.
24                     THE COURT:                    What you want                             to make sure                       is        that      the
25           court      reporter,                 ultimately,                      has          them.              I've           got         number        2
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 1           of --      here         when we're             done will         do that.           Just     make sure
 2           before      you go that                 our court          reporter         has 1, 3, and 4, and
 3           5 you're       going            to hold         on to until           you and Ms. Cross                     can
 4           work out          if     you we're             able     to put more to the                  story       to
 5           that.
 6                    ATTORNEYDILLON:                        Yes, Your Honor.
 7                     THE COURT: Ms. Cross,                           your closing             thoughts         about
 8           disqualification.
 9                    ATTORNEYGREEN-CROSS: Very brief                                     ones.          Your Honor,
10           we're      taking            a look      now at what has been admitted                              as Mr.
11           Jones,      Exhibit             3.      You'll         notice      that     Mr. Jones          is not Mr.
12           Bailey's          opponent             at this         point     in the      Lieutenant
13           Governor's              race.
14                     If anybody's                 got a problem,              or was the          opponent             of
15           Mr. Bailey              at that         time was Mr. Kwanzaa Hall                          because          at
16           this      point,         Mr. Bailey             was in a run off               election,            and he
17           was very          clearly            identified           as District          Attorney         Willis
18           raising       money for                Mr. Bailey          in the         runoff     fundraiser.
19                     THE COURT: It's                      the     largest      font      on the page.                  Even
20           larger       than        the        District          Attorney's          name.
21                     ATTORNEYGREEN-CROSS: I understand,                                        insofar,           as
22           we're      talking            about      appearances.               I think         that      shifts         the

23            focus     a little             bit.       The District             Attorney         isn't       raising

24           money for              the    opponent          of Senator          Jones      in giving            this

25            fund raiser,                this      is prior         to Mr. Bailey              becoming         the
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 1           actual       Lieutenant           Governor              nominee              for      his      party,          so I

 2           want      to make that            as      clear         as     it      can be.

 3                     THE COURT:             When was the                  runoff              election?

 4                     ATTORNEY GREEN-CROSS:                           Sometime                 after         June.

 5                     THE COURT:             Good.

 6                     ATTORNEY GREEN-CROSS:                           Someone             with          easier           access         to

 7           google       might       be able          to     --     the         last      week of             June.

 8                     THE COURT:             Late          June?

 9                     ATTORNEY GREEN-CROSS:                           Late         June.

10                     THE COURT:             All      right.             Got it.

11                     ATTORNEY GREEN-CROSS:                           Mr.        Smith          is      going          to be so

12           pleased,          because        he gets           another             mention.                  I shared            with

13           Mr.      Dillon      an affidavit                from Mr.              Smith,            who is            actually

14           general        counsel          of the          prosecuting                 of Georgia.                      May I

15           approach,          Your Honor?

16                     THE COURT:             Yes.

17                     ATTORNEY GREEN-CROSS:                           I've         got         an original                for         the

18           court       reporter,           but     I'll       hold        onto         that         until        it's           been
19           tendered          and amended.                  This      is        an affidavit,                    thank          you,

20           that      I shred        with     Mr.          Dillon        not       long         before           the      hearing

21           identifying             that     Mr.      Smith         is     someone              who deals                with

22           conflict.            He routinely                advises             District               Attorney's               as     far
23           as general           and other            entities             to      the         inquiry           about          the

24           legal       requirements              and that's               the         legal         conflict             for

25           individuals,             prosecuting               attorneys.
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 1                     He's     reviewed          the motion,              he's      reviewed             the    response,
 2           the motion           of Senator            Jones,       including              the     runoff
 3           fundraiser           flyer       that      we're      still          looking          at,     and he
 4           determined,           in fact,            in his      opinion           that     it         does not a
 5           legal      requirement.
 6                     I'm not suggesting                  that      Mr. Smith's              opinion
 7            (undecipherable)                the      Court's,       but         insofar          as the
 8           individual           who routinely                advises        district             attorneys           about
 9           these      matters,          this       is the       individual             who is           saying       that
10           there      is     not an actual             conflict.                There      is     also        language
11           in their          indicating,             of course,           that      he does advise                   that
12           an actual          conflict          is    required,           as opposed              to the
13           appearance           of one,         so we ask that                  State's         Exhibit          No. 1 be
14           admitted.
15                     THE COURT: Any objection                            to State's              1 being
16           admitted,          assuming          Jones        5 ultimately              get's           admitted?
17                     ATTORNEYDILLON:                   Yes,      Your Honor.                I'm going              to
18           object,          subject      to Jones            5 being        admitted             along        with      this.
19                     THE COURT: Okay.
20                     ATTORNEYDILLON:                    I have no reason                   to doubt            the
21           authenticity           of this,            but Mr. Smith also                    trains            them on an
22           ethical          (unintelligible)                 and so we could                be back here                 next
23           week with          a motion          for prosecutorial                   misconduct,                which        I
24           won't      define,         but      the    ethical       rules          also     apply          to the
25           District          Attorney's            office,       and in the presentation                             that       I
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 1           provided             the    Court,         he lays       out exactly                the     rules     that        DA
 2           Willis'         office         has violated.
 3                     THE COURT: Okay.                       Sort        out Exhibit             5 soon,        so I can
 4           put     that         alarm     on it.          I'm going             to admit             DA 1 or State's
 5           1, but         I'd     love        to see 5.            It    seems like             it     ought      to come
 6           in.       I understand                the     State's         concern.
 7                     ATTORNEYGREEN-CROSS: I think                                      we can work that                  out.
 8           There      comes a time                when the Court                 considers             Senator         Jones'
 9           offer      of Exhibit                No. 5, Mr. Smith's                     presentation.               I
10           believe         at     least         the    excerpt          that     Mr. Dillon             read      this
11           afternoon             was a concern              or admonishment,                    or flagging              the
12           extra      judicial            statements            of the          District          Attorney         or
13           prosecuting                entity.
14                     You've           heard      no evidence             this        afternoon          or to my
15           knowledge             in the         record      anywhere            that      there        has been any
16           extra      judicial            statement          from the            District            Attorney's
17           office         about        Mr. Jones          officer         that         has played          a part         in
18           this.
19                     Insofar           as the         objection          this        afternoon          came to the
20           identification,                    apparently,           for        the     first      time     officially,
21           that      Senator           Jones      has received                 a target         letter,        of course
22           that      was in direct                response          in the motion                 to disqualify
23           that      was file           by Senator           Jones        on Friday.                  They raised            in
24           that      motion           equal      protection             and due process                 claims.           They
25           reference             constitutional              protections                of the         Federal         and
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 1           State       Constitution,                 and they                are        essentially              saying,                 hey,

 2           look      what       you're         doing.                You're         investigating                    me,       and

 3           you're        doing         that        only     because                I am a political                      opponent

 4           of     someone           you like.

 5                      That      is     our     whole        point            to     you,         that      is    the        whole

 6           thrust        of this.              Friends               get     rewarded             and enemies                  get

 7           punished.                The fact         of the            matter             is,     and what             the

 8           District           Attorneys             represented                    in     that      was,        no,      You're

 9           just       like      everybody            else.                 You're         treated          exactly             like

10           everybody            else,         similarly               situated             to     you,      received                 the

11           same treatment                    and    you can't                show otherwise,                     and          for        that

12           reason        the        legal      standard               hasn't            been      met,      so I wanted                     to

13           clear       that         up too.

14                      Otherwis•e,             I'm    happy            to     address             any     concern              or

15           comment           further          from        the        Court         that         I think         the      motion

16           the      burden          hasn't         been      satisfied.                     It    is     not     a legal

17           conflict           here       and       the     motion            should             be denied             after          I

18           consult           very       briefly           with        my table.

19                      THE COURT:               Please            consult.                 Can we take                 the      screen

20           share       down now?

21                      ATTORNEY GREEN-CROSS:                                 Yes,        and apparently                   we can

22           withdraw            our      objection               to    Exhibit             5.

23                      THE COURT:               Great.

24                      ATTORNEY GREEN-CROSS:                                 There's             no need         to     go forward.

25                      THE COURT:               Great.                So before              you        leave,         Mr.      Dillon,
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 1           make     sure        a copy             gets      to    our        court         reporter,                 but     I'd      like
 2           a copy         of    5 as well.
 3                    ATTORNEY GREEN-CROSS:                                I'm         handing                up the       original               of
 4           the     affidavit                of Mr.          Smith.
 5                    THE COURT:                     Thanks.           Mr.       Dillon?
 6                    ATTORNEY DILLON:                          Very       briefly,                   Judge.            Regarding             to
 7           the     last        point          raised         by the           State.
 8                    THE COURT:                     Which was?
 9                    ATTORNEY DILLON:                          That       it         is     perfectly                okay      to     out
10           the     target            letter         status         of Senator                  Jones           in     their
11           pleading.
12                    THE COURT:                     I didn't          hear           that       it      was perfectly
13           okay.          It    was an explanation                            for              the          hand      was forced,
14           and because                an argument                 was made or                  treated              differently.
15           I didn't            hear         that       it    was perfectly                     okay.            I heard             that        it
16           was a justification.                              You don't               think           it's       justified
17           because?
18                    ATTORNEY DILLON:                          I think            they          could           have      made that
19           argument            under          (unintelligible)                       and not                further         the
20           appearance                that      they're            favoring               Mr.    Bailey              in   trying            to
21           do what?             Hold          my client            up to        public               ridicule            and
22           increase            his      shame,            and do the             things              that       Mr.      Smith's
23           presentation                 says        they      should           never           do.
24                    THE COURT:                     Ms.      Pearson,           was there                anything              you
25           wanted         to    add.           Your motion               with            Ms.    Deborrough,                   the
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 1           motion       to quash            and disqualify.                    I mean your focus                     was
 2           quashal,           and I get            that,       but     you adopted                 Mr. Dillon         and
 3           Ms. Clapp's               motion.
 4                      You've         shared        with me that               Mr. Still             is a political
 5           candidate.                I appreciate              that     Mr. Shaeffer                 is politically
 6           prominent            in the         Republican             party      and you said                that     all        of
 7           your client's                are      active        in one way or another.                            What's
 8           the     disqualification                   argument?               They seem to be not in the
 9           same category                as Mr. Dillon's                 client.
10                    ATTORNEYPEARSON: Your Honor,                                      I would agree                 that
11           Senator           Jones      has the most direct                      conflict.              In our view
12           not to ask for more relief                              than       the     senator          himself        has
13           asked       for,         in our view that                  remedy is not                 sufficient             to
14           address           that      conflict,           and the         conflict           is     exacerbated                --
15           the     evidence,            by the politicization                         of our client's                  cases
16           and our client's                    processes.
17                      THE COURT: Again,                     I'll       have to have you explain                             what
18           you mean by politicization,                                given      that        it     was your
19           client's           were doing?              What is politicization                           their
20           politicizing                their       activity,           their         political          choices,
21           their       connection              to a political                 -- what's             politicization
22           about       it.     other        than      talking          about         that     which is
23           inherently               political;         I'm not            following.
24                    ATTORNEYPEARSON: I think                                  it's      a great         distinction,
25           Your Honor.                 We're       not talking             about        --        although       we're
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 1           talking        about       political            things,           we're       talking          about
 2           political           motivation            by one party                 against        another          party,
 3           and to actions                taken       in one uniform                  direction            against
 4           republican           candidates,              prominent               republican         actors          --
 5                     THE COURT: Was there                        a third            group       of alternate
 6           democrat           electors        in case           the        democrat         electors        --      I'm not
 7           aware       that     another          group      that           the    special        purpose          Grand
 8           Jury      should       be investigating                    in connection               with      Republican
 9           efforts       to create            republican              alternate             electors        and to
10           challenge           the    outcome           that,      at that           time,       and continues                to
11           show that           a democrat            won.        I was going                to press        Ms. Cross,
12           but    she didn't             go there          about        partisan,            because        partisan
13           has lots           of meanings.
14                     I don't         think       that      partisan,              the    case      that     she cited
15           was democrat              and republican,                  it     was I'm partisan                   because
16           I'm trying           to get        this       guy prosecuted.                     I have a stake                in
17           the    outcome         of this         prosecution.                    That    is not where               her
18           argument           went today,            but    everything               about       this      is
19           inherently           political,              because         two political               parties
20           collided,           someone appears                  who have won, and folks                          who
21           appear       to have lost              didn't         like        that       outcome         and said
22           appearances            can be deceiving                    and took           some steps,             and the
23           question           is where       those         steps        legal,          and that's          the
24           purpose       of this          special          purpose           Grand Jury           is
25           investigating,                so it       seems to me utterly                      unremarkable               that
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 1           your clients              are     all      republicans.                   What would be
 2           remarkable           is    if     they         weren't.             What's         the politicization
 3           because       I don't            want to miss                it     if    there's            a reason            to be
 4           concerned,           but      you're           not asking,               I'd      hope for,            we have to
 5           have a Republican                   District           Attorney                investigate             this
 6           because       that's          the       only way it               will         be fair.
 7                    ATTORNEYPEARSON: No, not at all,                                             Your Honor.                  I
 8           think      the      process,            well,        I know Mr. Dillon's                       motion            is
 9           that     the Attorney               General           would be allowed                       to designate
10           the     replacement,              and so we think                       that      should       be done,
11           because       I think            the     appearance                of impropriety                 with        Senator
12           Jones      taints         the     entirety            as office                of the        entire
13           investigation,                not       just        with     regard            to him as the                remedy
14           for     what I'm trying                  to say,           but you are                correct          that        our
15           focus      was quashal,                 and that           we are          joining           in that          motion
16           as an add on.
17                    I would also               say,        Your Honor,                that       just      on behalf              of
18           my clients,            you asked               if    there         is    another          slate        that        they
19           should      be investigating,                        and I would argue                       under         the
20           authorities            that       I put         in our motion                   to the        extent          we were
21           contingent           electors,             and so were the                      democrats,             because
22           there      was a pending                 judicial            challenge             that       made it            joint.
23                    And so,          yes.          The answer                to your question                    is    that
24           both     electors          were contingent                        about        time    contingent                on the
25           judicial         outcome          which never                came.
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 1                     THE COURT: Okay.                    I appreciate                 that      perspective,               but
 2           you did say you are                     seeking       --     I'm paraphrasing                      you,     more
 3           relief       or greater            relief         than     Mr. Dillon              was seeking,                but
 4           then      I thought          you ended it             by saying             we want what Mr.
 5           Dillon       recommended,               which is push              for      his      client,            Senator
 6           Jones      situation           to the Attorney                General,             and let          the
 7           Attorney          General         decide      should         I,    the Attorney                   General,
 8           find      another          District         Attorney         in her office                  to see if             it
 9           bares      having          a conversation             with        Senator          Jones,          or
10           investigating,               or sending            a letter,          whatever              they        choose
11           to do.        What's         the difference                between          that          and what you
12           think      I ought          to do in terms                of disqualification                       and your
13           clients?
14                     ATTORNEYPEARSON: Your Honor,                                   I think           the
15           disqualification,                  if     there      is    one,     it      is     disqualification
16           to the       entire         investigation,                and the         disease           cannot        be
17           cabin      to Senator             Jones      alone
18                     THE COURT: Okay.
19                     ATTORNEYPEARSON: -- because                               it's          still      the        special
20           Grand Jury          being         advised         by this         District           Attorney,            and
21           the      report     would still              be advised            by this           District
22           Attorney,          and so we don't                 believe         that's          a sufficient
23           cure,      and that          if    there's         a disqualification,                       it     should          be
24           from the          entire       investigation               and not just                   from Senator
25           Jones.
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 1                    THE COURT: I follow                       that,     and I thank                you so much.
 2                    ATTORNEYDILLON:                    Just      as a suggestion,                   Judge,        and my
 3           learned          counsel       points       to my own brief                   at page         6.      The
 4           Magloclin(sp.)                case,      Magloclin          v. Payne indicates                       that
 5           where the           elected          District       Attorney            is    totally
 6           disqualified               from the       case,       everybody              in the      office         is.
 7           Here the           special      grand       jury      has two focuses.
 8                    One, the            focus      of the      call     between            the     president             and
 9           the     Secretary           of State's           office,         and perhaps             other
10           officials           that      related       to finding             the       votes.          That's         one
11           aspect       of it,         and then        there's         the     other           aspect     of it          that
12           could       be carved          off      and sent          to Mr. Carr's               office         to say,
13           let's       find     a new District                Attorney         who doesn't               have a dog
14           in this          hunt      and do an investigation,                          do a proper
15           investigation.
16                    They can still                 have this          other        aspect        of it,         but      a
17           new District               Attorney       could       come in and look                   at the
18           evidence.
19                    THE COURT: So without                        agreeing           that        there     are     only
20           two aspects             to what the             special      purpose            Grand Jury            is
21           investigating,                your creative               idea     is    if        I determine          that
22           there       is     going      to be disqualification,                         it     could     be not as
23           to individuals,                but as to subject                   matter,           and so this
24           question           of an alternate               slate      of electors,                if    that      is
25           something           that      needs      to be further              investigated,                  create          a
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 1           separate           entity       to do that,              that's       not supervised                 by this
 2           District           Attorney?
 3                     ATTORNEYDILLON:                   That's          correct,          Your Honor.
 4                     THE COURT: Okay, thank                          you.        All     right.             I think
 5           we've       covered          everything,           but      let      me find          out       from Ms.
 6           Cross,           Mr. Wade, Mr. Wakeford.                          Anything         else         from the
 7           District           Attorney's           office?
 8                     ADA WADE: Nothing,                      Judge.           Thank you.
 9                     THE COURT: Okay.                   Mr. Dillon               or Ms. Clapp,                 anything
10           further           from Senator           Jone's          legal       team?
11                     ATTORNEYDILLON: No, Your Honor.
12                     THE COURT: Ms. Pearson,                          Ms. Deborrough,                      anything
13           else      from your clients?
14                     ATTORNEYPEARSON: No, Your Honor.                                         Thank You.
15                     THE COURT: All                 right.           So we're           clear,         some things
16           I'll      need to memorialize                     in writing.                I am not            quashing
17           the     subpoenas.             I'm repeating               myself,           but      I will        be
18           issuing           an order,       a written              order       on the        question          of
19           disqualification,                 and it          will     address,           not        just     Mr.
20           Dillon's           client,      bur Ms. Pearson                    and Ms. Deboroughs'
21           clients           as well.
22                     I'll      probably       put      in there              a little         bit      about        the
23           timing           of the      issuance       of the         report,           but      I want to make
24           it     clear       now in front           of everyone               what I've             heard      from the
25           District           Attorney's       office          as well,            there       is      no plan        for      a
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 1           date     right           now anyway.                 It's           not available.                     If the way
 2           the     investigation                     flows,         insofar            as it         stays        with        this
 3           District           Attorney's                office           and the            special          purpose            Grand
 4           Jury,      that          Grand Jury               disgorges               it's      final         report
 5           somewhere              near         the     election,               it    will      not be published                       and
 6           released           until            after     the        election.
 7                     I'll         put that             in writing               as well,             because         from my
 8           brief       conversation                    with     the       grand            jurors,         just      to check              in
 9           on their           health            and well            being,           they      don't         have that               light
10           at the           end of the               tunnel,         but        things         could         change,            and if
11           suddenly           their            work is done I will                          make sure             that        there        is
12           a meaningful               time           buffer         between            release         and election,                    and
13           it    may well            be that            we need to publish                           the     plan        --     if    it's
14           going       to be released.                         If    the        report         is     going         to be
15           released           before            the     election               we make sure                when that
16           elected           date        is,      so that           if    people            have concerns                 or
17           objections               we could            file        those           and we could              air        that        out
18           before           the     release.
19                     I'd      be shocked                if     there           is    a report          before            then.          I'm
20           trying           to prime            interim         report              just      for     me from them on
21           how things               are        going.          I don't              know at all              how they            do
22           that,       so we'll                see how that               goes.             I appreciate                 everyone's
23           time,       so with            that         you are           all        free      to go.
24                                  (This matter                 has been adjourned.)
25
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 1                                                 Certificate
 2
 3
 4      STATE OF GEORGIA)
 5      COUNTYOF FULTON)
 6

 7
 8      I,   Hadassah       J.   David,      official       court     reporter       in and for           the
 9      state      of Georgia,        do hereby         certify      that      I did report         and take
10      down the       foregoing          pages   on the       21th day of July           2022,      that       it
11      is   a true,      accurate,         and complete          transcript       of the proceedings
12      transcribed        herein         to the best       of my skill          and ability.             I
13      further       certify      that     the   transcript         is     in conformity          with       the
14      judicial       counsel      of georgia          and the     georgia       board     of court
15      reporting.          I hereby        witness      my hand and official               seal     this
16      15th day of August                2022.
17
18
19

20
21                                    /S/    HADASSAHJ.           DAVID, CCR
22
23                       HADASSAHJ.           DAVID, OFFICIAL COURTREPORTER
24                                           #4857-8554-6837-1968
25                                  FULTONCOUNTYSUPERIOR COURT
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 ADA GREEN: [1] 51/7            69/5 69/23 70/2 70/5 70/9 12th [1] 58/23
 ADA WADE: [15] 4/6             70/14 70/19 76/6 76/13        14th [3] 53/8 80/14 80/15
  15/1615/2516/7 22/16          77/2 77/7 77/18 78/11 79/3 15 [2] 33/1 33/3
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ADA WAKEFORD: [14]              8612                          16 [2] 58/14 67/4
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  29/15 30/25 31/5 31/9       [26] 5/4 5/717/2118/7           1916 [1] 64/24
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  36/10                         26/3 26/6 27/16 28/5 29/1 1968 [2] 1/22 94/24
ATTORNEY CLAPP: [1] 33/10 33/13 36/17 37/2                   2
  4/22                          40/4 41/7 41/24 87/9 87/23 -=--=-------1
ATTORNEY DILLON:                89/6 90/13 90/18 92/13       2-day [2] 78/5 80/12
 [93] 4/15 4/18 5/13 5/21     THE COURT: [189]               2015 [1] 51/3
  5/25 7/17/37/12 9/17        $                              2020 [3] 15/15 66/13 73/16
  10/22 29/20 29/23 30/8     I:::-:=-:-=-=--~----            2022 [3] 1/12 94/10 94/16
  30/16 30/18 32/1 32/16      $lSO [l]    64125  6S/l        2022-Ex-000024 [1] 2/3
 32/20 32/23 33/7 36/20       $l,OOO[l]      43    75
                                               /lO 13        2022-EX-00024 [2] 1/6 1/8
  44/2 54/6 54/13 54/16       $l 70,000 [l] 63113            21st of [1] 2/4
  54/22 54/25 55/15 55/22       3
                              $ 0,000 [l]     6513           21th [1] 94/10
  55/25 56/2 57/18 58/7         32
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  59/11 59/19 60/7 60/13        6318 72123                    3/9 3/10 3/14
  60/16 60/22 61/14 62/1      $SO [l]   75114                24 [2] 3/2 3/8
  62/3 62/11 62/19 63/15      /                              241 [l] 51/2
  63/22 64/2 65/21 65/23      JS [l] 94121                   25 [1] 1/12
  67/12 68/3 68/6 68/23 69/2 1-=---..:....
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  80/19 80/21 81/5 83/16      100 [1] 29/25                  30303 [1] 1/12
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 GREEN-CROSS: [S3] 411 18/13 20/5 23/10 23/24                 94124                    [ ]
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  52/7 52/25 53/5 59/3 59/5 l ll [l] l3/13                   5th [1] 53/9
                              12 [6] 14/16 14/1715/12
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6                            accepting [1] 47/6          admitted [12] 70/25 76/18
                             access [2] 70/8 82/6         77/7 77/21 78/10 78/10
6th [3] 53/9 58/18 58/22
                             accident [1] 65/6            78/17 81/10 83/14 83/16
7                            accommodate [2] 36/7         83/16 83/18
704 [1] 79/9                  39/3                       admonishment [l] 84/11
                             accommodations [1] 36/6 adopted [1] 87/2
8                            according [1] 63/3          adoption [1] 2/10
8554 [1] 1/22                accurate [4] 49/25 69/10 advance [8] 3/3 3/8 23/24
9                             70/22 94/11                 24/3 39/12 40/13 40/16
                             accurately [1] 26/8          41/11
99 percent [1] 11/24         accused [1] 71/19           advantage [1] 35/19
A                            acknowledge [2] 6/2 64/16 adverse [1] 32/13
a.m [1] 41/19                acknowledged [1] 64/17 advise [1] 83/11
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26/15 32/12 64/19 94/12       61/21 78/23                 90/21
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about [85] 2/4 4/5 6/4 8/24  activity [1] 87 /20         advocated [1] 47/11
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